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                                                            1                                     ATTACHMENT 8 TO FL-300

                                                            2 8.        OTHER ORDERS REQUESTED (specify):

                                                            3           1.   An award to Marilyn of at least the sum of $6,704,879.64, together with 10-

                                                            4 percent statutory interest thereon from December 15, 2021, based on the computation by

                                                            5 Brian that the reversion sales price of the community property musical compositions under

                                                            6 paragraphs 6 and 7 of the parties’ judgment is the sum of $13,409,759.30, after payment of

                                                            7 a 5% commission.

                                                            8           2.   An accounting and payment of all funds due Marilyn as a result of her interest

                                                            9 in the community property catalogue of musical compositions awarded to her under

                                                           10 paragraphs 6 and 7 of the parties’ judgment, including a minimum of $6,704,879.64 for the

                                                           11 sale of 50% of the community property reversion rights, or such other amount as may be
               PHONE: (310) 786-1910 FAX: (310) 786-1917
                9150 WILSHIRE BOULEVARD, SUITE 209




                                                           12 determined by the Court, and an additional amount for producers’ royalties. The accounting
                    BEVERLY HILLS, CA 90212-3429
HERSH MANNIS LLP




                                                           13 shall include, but not be limited to:

                                                           14                 A.    a complete computation of Marilyn’s copyright reversion rights;

                                                           15                 B.    a complete computation of Marilyn’s rights to 50% of Brian’s producer

                                                           16                       royalties;

                                                           17                 C.    a complete computation of Marilyn’s rights to 50% of all sums

                                                           18                       generated from synchronization licenses, mechanical royalties, public

                                                           19                       performance royalties, whether payable by ASCAP, BMI, or SESAC or

                                                           20                       direct licensing, and royalties based on Brian’s performance of the

                                                           21                       songs, including SoundExchange (featured artist royalties) and

                                                           22                       neighbouring rights royalties.

                                                           23           2.   If the Court finds that the disposition of producers’ royalties is not covered

                                                           24 under the judgment, that such producers’ royalties be declared an omitted asset under

                                                           25 Family Code section 2556 and the producers’ royalties received post-judgment be ordered

                                                           26 divided equally between the parties and restitution thereof paid by Brian to Marilyn.

                                                           27           3.   Final, full copy, with all exhibits, of the asset-acquisition agreement that Brian

                                                           28 entered into with Universal Music Corp. d/b/a Irving Music and Primary Wave Music IP on
                                                                {0
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                                                                2                                 ATTACHMENT 8 TO FL-300
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                                          Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 7 of 182 Page ID #:20



                                                           1 about December 15, 2021.

                                                           2            4.   10-percent statutory interest on any and all past-due payments due from Brian

                                                           3 to Marilyn.

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                    BEVERLY HILLS, CA 90212-3429
HERSH MANNIS LLP




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                                                                                                                                                  FL-319
�     PETITIONER/PLAINTIFF: ljrlan VVIISOn                                                               CASE NUMBER:
                                                                                                         D 983 605
 RESPONDENT/DEFENDANT: Marilyn                    Wilson-Rutherford
                  OTHER PARTY:


                                            REQUEST FOR ATTORNEY'S FEES AND COSTS ATTACHMENT

1. I am completing this form because:
   a. I need to have enough money for attorney's fees and costs to present my case adequately;
         D  I am receiving free legal services from an attorney at a nonprofit legal services agency or a volunteer attorney.
   b. I have less money or limited access to funds to retain or maintain an attorney compared to the party that I am
       requesting pay for my attorney's fees and costs; and
   c. the party that I want the court to order to pay for my attorney's fees and costs has or is reasonably likely to
       have the ability to pay for attorney's fees and costs for me and himself or herself.

2. I am asking the court to order that (check all that apply):            [XI petitioner/plaintiff         D   respondent/defendant
   Dother party (specify):                                     pay for my attorney's fees and costs in this legal proceeding as follows:
    a.   [XI     Fees:         $               250,000
    b.   [XI     Costs:        $               250,000 accountant costs
3. The requested amount includes (check all that apply):
   a.    D a fee in this amount of: $                    to hire an attorney in a timely manner before the proceedings in the matter go
           forward.
   b. [XI attorney's fees and costs incurred from the beginning of representation until now in the amount of: $ 48,236
   c. [XI estimated attorney's fees and costs in the amount of: $ 451, 764
   d.    D attorney's fees and costs for limited scope representation in the amount of: $

4. Have attorney's fees and costs been ordered in this case before?
   a.    D  No.
   b.    D  Yes. If so, describe the order:
            (1) The              D
                            petitioner/plaintiff             D
                                                       respondent/defendant            D       other party must pay: $
                for attorney's fees and costs.
                       (a) This order was made on (date):
                       (b) From the payment sources of (if known):



                 (c) The payments            Dhave been made         D    have not been made       D    have been made in part
                 since the date of the order.
                 (2)    D        Additional information (specify):




5. Along with this Request form, you must complete, file and serve:
   a. A current Income and Expense Declaration (form FL-150). It is considered current if you have completed form FL-150 within
      the past three months and no facts have changed since the time of completion; and
                                                                                                                                                 Page 1 of 2
 Form Approved for Optional Use                                                                                   Family Code, §§ 270, 2030, 2032 3121, 3557.,_
  Jud icial Council of Cal ifornia                       REQUEST FOR ATTORNEY'S FEES AND                                                         / 5.425, 5_.,3
                                                                                                                     7605; Ca[Rules of Court, rues
 FL-319 [New January 1, 2012]                                                                                                               www.courts.ca.gov
                                                               COSTS ATTACHMENT
                                                                     (Family Law)
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                                                                                                                            CASE NUMBER:
       PETITIONER: Brian       Wilson                                                                                       D 983 605
     RESPONDENT:         Marilyn Wilson-Rutherford

                                 SPOUSAL OR DOMESTIC PARTNER SUPPORT DECLARATION ATTACHMENT
 Declaration for Default or Uncontested Judgment (form FL-170)                                               
                                                                                                              X Supporting Declaration for Attorney's Fees and
 Request for Order (form FL-300)                                                                                    Costs Attachment (form FL-158)
 Other (specify):

1. Spousal or domestic partner support.
   a. I am the (specify all that apply):
      (1) petitioner          X respondent.
      (2) support payee (party asking for support)      support payor (party being asked to pay support).
   b. I request that the court (check all that apply)
      (1)  enter a judgment for spousal or domestic partner support for petitioner  respondent.
      (2)  modify the judgment for spousal or domestic partner support for      petitioner  respondent.
      (3)  deny the request to modify the judgment for spousal or domestic partner support.
      (4)  terminate jurisdiction to award spousal or domestic partner support to petitioner  respondent.

2.   
     X Attorney fees and costs. I request that the court (check one):
     a. 
        X order my attorney fees and costs to be paid by     X my spouse or domestic partner                                               a joined party (specify):
     b.    deny the request for attorney fees and costs.
SECTION 1: FACTS ABOUT BOTH PARTIES

3. Length of marriage or domestic partnership (Family Code section 4320(f))

     a.    (1) Date of marriage: 12/7/1964
           (2) Date of separation: 1978
           (3) Time from date of marriage to date of separation:................................................
                                                                                                    Around                         15            years                   months

     b.    (1) Date domestic partnership was registered:
           (2) Date of separation:
           (3) Time from date of registration of the domestic partnership to date of separation:                                                 years                   months

     c.    If applicable, total combined years and months for the marriage (a(3)) and the
           domestic partnership (b(3))..........................................................................................                 years                   months

4. Standard of living of the marriage or domestic partnership (Family Code section 4320(a))                     See Attachment 4
   The standard of living established during the marriage or domestic partnership was (describe, for example, information from your
   income tax return, type and frequency of vacations, value of home and other real estate, value of investments, type of vehicles
   owned, credit card use or nonuse, ability to save for retirement):
     Brian, a world-famous musician, enabled us to live an upper-class
     lifestyle, with multiple homes, worldwide travel, luxury cars, and
     high-end shopping.




                                                                                                                                                                               Page 1 of 7

Form Approved for Optional Use                           SPOUSAL OR DOMESTIC PARTNER SUPPORT                                                          Family Code, §§ 270, 2030, 2032, 4320,
Judicial Council of California                                                                                                                                                  6344, 7640
FL-157 [Rev. January 1, 2021]                                  DECLARATION ATTACHMENT                                                                                    www.courts.ca.gov
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    RESPONDENT:           Marilyn Wilson-Rutherford

5. Age and health of the parties (Family Code section 4320(h))
   a. The age of the party asking for support is: 73
   b. The age of the party being asked to pay support is: 79
   c. The health condition of the party asking for support is (describe):                                            See Attachment 5c
            No support is being sought.




     d.    The health condition of the party being asked to pay support is (describe):                               See Attachment 5d
            No support is being sought.




6. Documented history of domestic violence (Family Code section 4320(i)) Not applicable.                         See Attachment 6
   The court will consider all documented evidence of any history of domestic violence between the parties or perpetrated by either
   party against either party's child, including but not limited to the following:
   a. A plea of nolo contendere ("no contest").
   b. Emotional distress resulting from domestic violence against the party asking for support by the party being asked to pay support.
   c. Any history of violence against the party being asked to pay support by the party asking for support.
   d. A Restraining Order After Hearing (form DV-130).
   e. A finding by a court as part of a case involving divorce, separation, or a child custody proceeding, or any other proceeding
       in family court in which the court has found that the spouse or domestic partner committed domestic violence.
   f. Other evidence of any history of violence between the parties.
   Attach to this form copies of the documents that you want the court to consider. Label them "Attachment 6."

7. Documented evidence of criminal conviction (Family Code section 4320(m))
   a.  Felony conviction of the party asking for support
      The party being asked to pay support requests that the court find that the party asking for support is prohibited by law from
      receiving support (including medical, life, or other insurance benefits or payments) under Family Code section 4324.5 because:
      (1) The party asking for support was convicted of a violent sexual felony or domestic violence felony against the party being
          asked to pay support within five years after the conviction (and any time served in custody, on probation or on parole); and
      (2) The petition for divorce was filed within five years after the spouse's or domestic partner's conviction (and any time
          served in custody or on parole).

     b.     Misdemeanor conviction of the party asking for support                                                   See Attachment 7b
           (1) There is a rebuttable presumption that the party asking for support is prohibited from receiving support from the party being
               asked to pay support under Family Code section 4325 because:
               (A) The party asking for support was either convicted of a domestic violence misdemeanor against the party being asked
                   to pay support in this case or convicted of a misdemeanor against the other party that resulted in a term of probation
                   under Penal Code section 1203.097); and
               (B) The conviction was entered by the court within five years before the petition for divorce was filed (or the conviction was
                   entered at any time during the divorce case).

           (2) Based on a preponderance of the evidence,
               (A)  The party being asked to pay support asks the court to find that the presumption has not been rebutted.
               (B)  The party asking for support asks the court find that the presumption has been rebutted.
                       Attach to this form a declaration and documents that you want the court to consider. Label them "Attachment 7b"




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       PETITIONER: Brian        Wilson                                                           D 983 605
    RESPONDENT:           Marilyn Wilson-Rutherford

SECTION 2: FACTS ABOUT THE PARTY ASKING FOR SUPPORT

8. Earning capacity (Family Code section 4320(a)(1)

     a.    The marketable skills (training, job skills, and work history) of the party asking for support (describe):    See Attachment 8a
            I work as a real-estate agent.                               I am over the retirement age of 65.




     b.    The current job market for the job skills of the party asking for support is (specify):                       See Attachment 8b
            No support is being requested.




     c.    The time and expenses required for the party asking for support to acquire the appropriate education          See Attachment 8c
           and training to develop the skills for the job market described in (b) (specify):
            No support is being requested.




     d.    The possible need for retraining or education to acquire other, more marketable skills or                     See Attachment 8d
           employment (specify):
            At age 73, I cannot retrain or acquire other, more-marketable
            skills or employment. I have worked as a real-estate agent for
            over 20 years, and I have no other work skills.




     e.    Indicate the extent to which the party asking for support is able to earn enough money to maintain the standard of living
           established during the marriage or domestic partnership.
            In my profession, I have never earned anywhere near enough to
            maintain our upper-class marital living standard. In any event, I
            am not seeking support.




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    RESPONDENT:           Marilyn Wilson-Rutherford

9. Earning capacity (Family Code section 4320(a)(2))                                                         See Attachment 9
   a. The party asking for support    X has  has not            had periods of unemployment because of the time needed
      to attend to domestic duties. (Complete (b) if there were periods of unemployment.)

     b.    Specify the extent to which the present or future earning capacity of the party asking for support is impaired by periods of
           unemployment to devote time to domestic duties during the marriage or domestic partnership.
           During the marriage, I cared for our household and children and
           did not work.




10. Contributions to the education and training of the party being asked to pay support                           See Attachment 10
    a. The party asking for support did  did not                contribute to the education, training, career position, or license of
       the party being asked to pay support (If the party asking for support did contribute, complete item b below.)

     b.     Specify the extent to which the party asking for support contributed to the education, training, career position, or license of the
            party being asked to pay support.
            I am not seeking support.




11. Care for children (Family Code section 4320(g))                                                           See Attachment 11
    a. The party asking for support has  has not               had periods of unemployment to care for the children of the
       marriage or domestic partnership. (Complete (b) if there were periods of unemployment.)

     b.     The party asking for support is  is not able to be gainfully employed without unduly interfering with the interests
            of the children in the care of the party asking for support (specify):
            I am not seeking support.




12 Needs of the party asking for support (Family Code section 4320(d))                                          See Attachment 12
   Specify the needs of the party asking for support based on the standard of living established during the marriage or domestic
   partnership, as described in question 4.
      I am seeking attorneys' fees and costs to determine my rights
      related to community intellectual property that Brian created during
      our marriage and to potentially litigate those rights.




13. Assets and debts (Family Code section 4320(e))                                                                      See Attachment 13
    a. The assets, including separate property, of the party asking for support are (specify):
            See my accompanying income and expense declaration.




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    RESPONDENT:           Marilyn Wilson-Rutherford

     b.     The debts, including separate property, of the party asking for support are (specify):
            See my accompanying income and expense declaration.




14. Tax consequences (Family Code section 4320(j))                                                                   See Attachment 14
    The immediate and specific tax consequences for the party asking for support are (specify):
      I am not seeking support.




15. Goal to become self-supporting (Family Code section 4320(l))                                                     See Attachment 15
          Notice: When ordering spousal or domestic partner support in a judgment, the court may advise (warn) the party asking for
                  support to make reasonable efforts to become self-supporting within a reasonable period of time, considering all the
                  factors in Family Code section 4320. The court may decide that this warning (often called a “Gavron” warning) is not
                  appropriate if the case involves a marriage or domestic partnership of long duration (about 10 years or longer).
                  Generally, failure to become self-supporting after the court gives the warning can result in an order to reduce the
                  amount of the support award.

     a.     This     
                     X is  is not       a marriage or domestic partnership of long duration (ten years or more).

     b.     The party asking for support is        X is not self-supporting (If not, specify below what steps, if any, the party asking
            for support will take to become self-supporting within a reasonable period of time):
            I am not seeking support.




     c.     Other (specify below):
            See accompanying declarations.




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    RESPONDENT:           Marilyn Wilson-Rutherford

SECTION 3: FACTS ABOUT THE PARTY BEING ASKED TO PAY SUPPORT

16. Ability to pay support / earning capacity (Family Code sections 4320(a) and (c))                                See Attachment 16
     a.     The earned income of the party being asked to pay support is (specify):                           unknown
     b.     The unearned income of the party being asked to pay support is (specify):                         unknown
     c.     This party does  does not             have the ability to earn enough money to maintain the standard of living described in
            4 for both spouses or domestic partners. (If not, explain why below.)
            I am not seeking support.




     d.     Based on the above responses, this party     is  is not           able to pay spousal or domestic partner support.
17. Needs of the party being asked to pay support (Family Code section 4320(d))                                 See Attachment 17
    Specify the needs of the party being asked to pay support based on the standard of living established during the marriage or
    domestic partnership, as described in question 4.
      I am seeking attorneys' fees and costs to determine my rights
      related to community intellectual property that Brian created during
      our marriage and to potentially litigate those rights.




18. Assets and debts (Family Code section 4320(e))                                                                  See Attachment 18
     a.    The assets, including separate property, of the party being asked to pay support are (specify):
           Unknown, other than his lawyers' recent admission that he recently
           received tens of millions of dollars in various business deals. I
           am seeking an accounting for significant royalties that I do not
           believe have been paid to me. Brian has recently received many,
           many millions


     b.    The debts, including separate property, of the party being asked to pay support are (specify):
           Unknown.




19. Tax consequences (Family Code section 4320(j))                                                                  See Attachment 19
    The immediate and specific tax consequences for the party being asked to pay support (specify):
      Unknown.




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SECTION 4: BALANCE OF HARDSHIPS AND OTHER FACTORS

20. Balance of hardships (Family Code section 4320(k))                                                              See Attachment 20
    Describe below any special financial difficulties to the party if ordered to pay support compared to the hardship to the party who is
    asking for support. (For example, consider the ability of a party to pay support versus the need of the other an party to receive
    financial support).
      I believe that paying my fees and costs would not impose any
      financial difficulties on Brian, as he recently received tens of
      millions of dollars from business deals and, even before then, lived
      a luxurious lifestyle. For decades, he has been receiving
      substantial royalties.




21. Indicate below other factors, if any, that the court should consider that are just and equitable in ordering    See Attachment 21
    spousal or domestic partner.(Family Code section 4320(n))
      See accompanying declarations.




     Number of pages attached:

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                                                           2     EX.        DESCRIPTION
                                                                 NO.
                                                           3
                                                                 A          Interlocutory Judgment, filed March 4, 1981
                                                           4
                                                                 A1         Stipulation Modifying Judgment and Order Thereon, filed August 11, 1997
                                                           5
                                                                 B          Joseph Mannis’ and Candace Carlo’s letter to Eric Custer dated November 18,
                                                           6                2001

                                                           7     C          Eric Custer E-mail to Joseph Mannis and Candace Carlo, dated November 29,
                                                                            2021
                                                           8

                                                           9     D          Joseph Mannis email to Eric Custer, dated November 30, 2021

                                                           10    E          Eric Custer E-mail reply to Joseph Mannis, dated November 30, 2021
                                                           11
               PHONE: (310) 786-1910 FAX: (310) 786-1917
                9150 WILSHIRE BOULEVARD, SUITE 209




                                                                 F          Redacted chain of emails, from December 14 to 15, 2021
                                                           12
                    BEVERLY HILLS, CA 90212-3429
HERSH MANNIS LLP




                                                           13    G1 -       Redacted, highlighted copies of parts of the email chain between Eric Custer and
                                                                 G4         Joseph Mannis and Candace Carlo, from December 14 to 15, 2021
                                                           14
                                                                 H          HM redacted billing statements from November 29, 2021 through January 26, 2022
                                                           15

                                                           16    I          John Branca Web site home page

                                                           17
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         MEMORANDUM OF POINTS AND AUTHORITIES


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  24                DECLARATION OF ANDREW STEIN

  25                DECLARATION OF CANDACE CARLO
  26                DECLARATION OF BONNIE ESKENAZI
  27

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                                                            1                                           INTRODUCTION

                                                            2           The Family Code imposes on each spouse fiduciary duties concerning each community asset

                                                            3 until its actual distribution. Those duties include the obligations to provide access at all times to

                                                            4 books regarding a transaction; to render true and full information of all things affecting any

                                                            5 transaction; and to account and hold as trustee any benefit or profit derived from any transaction by

                                                            6 one spouse without the other’s consent. The duties also govern the operation or management of a

                                                            7 business or a business interest in which the community may have an interest and apply to certain

                                                            8 business, investment, or income-producing opportunities stemming from a community asset. Beach

                                                            9 Boys founder, songwriter, and performer Petitioner Brian Wilson created some 170 musical

                                                           10 compositions during his marriage, from 1964 to 1978, to Respondent Marilyn Wilson. Their 1981

                                                           11 judgment expressly awarded Marilyn an equal interest in copyrights, contract rights, and royalty
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                                                           12 rights in his name for those compositions. It also gave Marilyn the right to annual accountings and
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                                                           13 obligated Brian to collect and distribute to her, or into a trust, half of all related proceeds. The

                                                           14 judgment awarded Marilyn shares of various companies, including Brother Publishing, charging

                                                           15 Brian with similar duties and granting Marilyn similar rights. The judgment reserved the Court’s

                                                           16 enforcement jurisdiction. Over the ensuing decades, Brian has sporadically provided Marilyn with

                                                           17 the required information. Now, he denies Marilyn’s right to certain royalties, such as producers’

                                                           18 fees, and has finally confirmed that he sold Brother Publishing.

                                                           19           Also, in 2021, Brian sold Universal the writer shares and reversion rights stemming from

                                                           20 community intellectual property. For the former, he sent Marilyn a $11,022,937 check for her

                                                           21 community half share but never produced the promised backup, preventing her from verifying the

                                                           22 numbers. For the latter, he offered her $3,352,439.82, only a quarter of the claimed community share.

                                                           23           The Court should therefore order Brian to account to Marilyn for all the community entities,

                                                           24 including Brother Publishing; for all payments owed or made to Marilyn over the past seven years;

                                                           25 and for the sales of the writer shares and reversion rights. In addition, it should immediately order

                                                           26 the payment of at least $6,704,879 for half of the community-property reversion rights sold by Brian.
                                                           27 It should also order him to pay her all other amounts he owes her. And it should award interest on

                                                           28 all past-due payments. Once Marilyn digests the information on the accounting, she will decide

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                                                            1 whether to request an accounting for earlier periods.

                                                            2                                                THE FACTS

                                                            3          1981 Judgment: Brian, a founder of the Beach Boys, married Marilyn. Their marriage lasted

                                                            4 from December 7, 1964, to 1978. On March 4, 1981, this Court entered their dissolution judgment.

                                                            5 (Exh. A, form 1287, p. 1.) Paragraph 1 of the judgment confirmed to Brian various items as his

                                                            6 separate property, being musical composition and copyrights from before marriage and after

                                                            7 separation. (Id., attachment, ¶¶ 1, 1(E), (F), pp. 1-7.)

                                                            8          Paragraph 3 declared “that the community property of the parties is equally divided” and set

                                                            9 up a trust account for payments of royalties and profit participations. (Exh. A, attachment, pp. 7-8,

                                                           10 ¶¶ 3, 3(A)(5).) It gave Marilyn a half interest in the account, subject to the paragraph 38 Trust

                                                           11 Account. (Id. at p. 8, ¶ 3(A)(5); see id. at pp. 34-35, ¶ 38.)
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                                                           12          Next, paragraph 6 ordered “that the community is the owner of certain copyrights, contract
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                                                           13 rights and/or royalty rights in [Brian]’s name with respect to musical compositions created during

                                                           14 the marriage... .” (Exh. A, attachment, p. 13, ¶ 6, italics added.) It then listed the qualifying 170

                                                           15 musical compositions. (Id. at pp. 13-20, ¶ 6.) Paragraph 7 provided for the parties “to equally divide

                                                           16 between themselves the foregoing rights in the community musical compositions listed hereinabove,

                                                           17 so that from the date hereof EACH PARTY IS to hold as his or her sole and separate property, an

                                                           18 undivided one-half (½) interest in said rights in the community musical compositions as tenants-in-

                                                           19 common.” (Id. at p. 20, ¶ 7, italics added.)

                                                           20          Paragraph 8 ordered Brian “to execute such assignments, copyright registrations, or other

                                                           21 documents as shall be necessary to effect direct payment to [Marilyn] of one-half (½) of all receipts

                                                           22 from such rights in the musical compositions.” (Exh. A, attachment, p. 20, ¶ 8.) To the extent “direct

                                                           23 payment” of her share could not be “effected,” Brian was ordered “to collect the total receipts from

                                                           24 community musical compositions and promptly transmit said monies to the paragraph 38... Trust

                                                           25 Account for distribution to each party in equal shares.” (Ibid.)

                                                           26          While paragraph 9 gave Brian the right “to administer and exploit all rights in said

                                                           27 compositions”; “to print, publish, sell, use or license the use of said rights and compositions”; “to

                                                           28 execute any license or agreement affecting said rights and compositions”; “to make all decisions with


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                                                            1 respect to said rights and compositions”; and “to have the right to assign or license such rights to

                                                            2 others” and “to sell or dispose of such rights or copyrights,” it prohibited him from “act[ing] in an

                                                            3 unreasonable manner” in the exercising of that discretion and from “maliciously or willfully tak[ing]

                                                            4 any such action with a view of damaging [Marilyn], or her interest therein.” (Exh. A, attachment, pp.

                                                            5 20-21, ¶ 9.) The paragraph ended: “The Court shall retain jurisdiction to determine the rights and

                                                            6 duties of [Brian] and [Marilyn] under this paragraph.” (Id. at p. 21.)

                                                            7          The judgment also awarded the parties equal community interests in Wilojarston, Inc., with

                                                            8 similar provisions requiring Brian to execute documents to effect the direct payment to Marilyn of

                                                            9 half of any dividends or other distributions under that entity’s stock and, to the extent direct payment

                                                           10 could not be effected, to collect payments and promptly transmit them to the paragraph 38 Trust

                                                           11 Account for equal distribution to the parties. (Exh. A, attachment, p. 23, ¶ 13.) Brian must pay
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                                                           12 Marilyn “a royalty equal to one-half (½) of all sums he receives after the date hereof,” subject to
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                                                           13 certain overhead deductions, and may sell and otherwise dispose of the stock, but he must not

                                                           14 maliciously or willfully take any action to damage her or her interest. (Id. at pp. 23-24, ¶¶ 14-16.)

                                                           15          Similar provisions governed Brian’s duties and Marilyn’s rights concerning a one-fifth

                                                           16 Brother Publishing interest, awarded to the parties equally. (Exh. A, attachment, pp. 26-29, ¶¶ 20-

                                                           17 26.) The judgment confirmed that “royalties are divided at paragraph 7... .” (Ibid., italics added.)

                                                           18          The judgment awarded the parties equal community interests in, and similar rights and duties

                                                           19 regarding, New Executive Music, defining it as “‘the publishing company,’” except Marilyn has no

                                                           20 interest in Brian’s postseparation musical compositions. (Exh. A, attachment, pp. 29-33, ¶¶ 27-33.)

                                                           21          Paragraph 38 ordered the termination of the Alan Priven Trust Account and the transferring

                                                           22 of all its funds to the “‘paragraph 38 Trust Account.’” (Exh. A, attachment, p. 34, ¶ 38.) The judgment

                                                           23 confirmed the purposes of the paragraph 38 Trust Account as to (1) collect and distribute all the joint

                                                           24 income of the parties that the judgment required to flow into the account; (2) calculate, apportion,

                                                           25 and distribute, according to the judgment, the income so received; and (3) retain and reserve

                                                           26 sufficient funds from that received income necessary to pay any common expenses or obligations of
                                                           27 the parties arising from the common ownership of the assets that the judgment mentioned. (Id. at p.

                                                           28 35, ¶ 39.) While the trustee of the paragraph 38 Trust Account may charge against the funds


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                                                            1 reasonable costs and fees for the trust’s administration, it must “render accounts to each party at

                                                            2 reasonably request intervals, not less than quarterly, and shall make available for inspection to each

                                                            3 party all books and records pertaining to the” account. (Id. at p. 35, ¶ 40.) The judgment ordered that

                                                            4 any direction to the trustee proceed “by joint written instructions of the parties.” (Id. at p. 36, ¶ 41.)

                                                            5          The judgment also ordered Brian “to cooperate with [Marilyn] in obtaining audits of any

                                                            6 entity from which [they] jointly receive income, pursuant to th[e] Judgment, or which they hold an

                                                            7 ownership interest in common as provided in th[e] Judgment.” (Exh. A, attachment, pp. 40-41, ¶ 59.)

                                                            8          The judgment permitted Marilyn to obtain those audits annually, but Brian must provide

                                                            9 Marilyn with any audit that he triggers. (Id. at p. 41, ¶ 59.) While she would share in the increased

                                                           10 value of the community interest in Brother Records’ stock under a then-pending audit, Marilyn would

                                                           11 have “no other rights in any other records or other audit conducted by Brother Records, Inc., nor in
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                                                           12 any other asset of Brother Records, Inc., or in the name or group known as ‘The Beach Boys’, except
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                                                           13 as otherwise provided in th[e] Judgment.” (Exh. A, attachment, pp. 41-42, ¶¶ 59-60, 62.)

                                                           14          Finally, the judgment reserved jurisdiction “to make such other and further orders as may be

                                                           15 necessary to carry out [its] provisions... .” (Exh. A, form 1287, item 3(c).)

                                                           16          1997 Stipulation Modifying Judgment: On August 11, 1997, the Court entered the parties’

                                                           17 Stipulation Modifying Judgment and Order Thereon and Order on Order to Show Cause, fully signed

                                                           18 as of April 28, 1997. (Exh. B.) Noting that Marilyn sought to restrain Brian and his agents from

                                                           19 withholding her share of marital royalties and to obtain orders to pay money for an accounting, the

                                                           20 stipulation ordered Brian to pay her $300,000, which would “not be a[] charge against or off set

                                                           21 against any funds due [her] pursuant to the Judgment and th[e] Stipulation... for the period

                                                           22 commencing February 1, 1997, and thereafter.” (Id. at pp. 1-2, recitals a-b, ¶ 2.) The $300,000

                                                           23 payment “satisfie[d] in full [Marilyn]’s claims that the deductions set forth on the accounting

                                                           24 mentioned in paragraph 3 []below are incorrect and/or improper” as well as Brian’s claims that

                                                           25 Marilyn owed him for her share of fees, costs, and expenses related to marital royalties. (Id. at p. 2,

                                                           26 ¶ 2(b).) The $300,000 payment would “not be charged in any future periods against [Marilyn]’s share
                                                           27 of marital royalties.” (Id. at pp. 2-3, ¶ 2.)

                                                           28          Under paragraph 3, as of February 1, 1997, “all receipts of marital royalties of community


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                                                            1 sums as set forth in the Judgment and received prior to February 1, 1997,” would be “divided pursuant

                                                            2 to the Judgment” as amended by the stipulation, “without deduction or offset (except as specifically

                                                            3 authorized by paragraph 5 []below.” (Exh. B, p. 3.) Brian waived and released all claims for offset

                                                            4 or deduction under Brenner & Glassberg’ accountings through December 31, 1996. (Ibid.)

                                                            5          Also, Brian released Marilyn “from all claims for offset or reimbursement whatsoever that

                                                            6 [he] may have arising out of or connected with any action, formal demand in writing or litigation

                                                            7 which ha[d] been received or commenced prior to the date of signing th[e] Stipulation or which [was]

                                                            8 presently known by [him] or his representatives.” (Exh. B, p. 3, ¶ 4.) He made similar releases

                                                            9 concerning “any monies claimed due [himself] pursuant to the Judgment or otherwise arising out of

                                                           10 or connected with any known claims, demands, causes of action,” etc., through the stipulation’s

                                                           11 signature date. (Id. at p. 3, ¶ 3.) The parties made mutual releases, including under Civil Code section
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                                                           12 1542, except as the stipulation provided otherwise. (Id. at p. 5, ¶ 8.) The releases, for example, do
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                                                           13 not preclude Marilyn “from sharing in any marital receipts pursuant to audit by Brian Wilson or

                                                           14 otherwise if the proceeds are received by Brian Wilson after February 1, 1997.” (Id. at p. 5, ¶ 9.)

                                                           15          The stipulation confirmed that, except as it “specifically modified” the judgment, the latter

                                                           16 would “remain in full force and effect,” with the family-law department of the Los Angeles Superior

                                                           17 Court retaining jurisdiction over any dispute regarding the stipulation. (Exh. B, p. 6, ¶¶ 10-11.)

                                                           18          2021 Disputes over Accountings, Royalties, and the Disposition of Community Assets:

                                                           19 On November 18, 2021, Joseph Mannis and Candace Carlo—Marilyn’s lawyers—wrote Eric

                                                           20 Custer—Brian’s counsel—to request information and accountings. (Exh. C.) Since Marilyn could

                                                           21 not recall the rights held by Brother Publishing, Brother Records, New Executive Music, and

                                                           22 Wilojarston, Inc., her lawyers asked Custer to “advise as to the status of th[o]se entities and whether

                                                           23 payment was made to Marilyn.” (Id. at p. 1.) They also asked for information concerning Brian’s

                                                           24 potential sales of various community assets. (Id. at p. 2.)

                                                           25          In addition, Marilyn’s counsel requested an accounting of “what is due her under the

                                                           26 Judgment” for the past five years, from January 1, 2016, through October 2021, so they could
                                                           27 compare against her receipts before deciding whether to examine earlier periods. (Exh. C, p. 2.) They

                                                           28 wanted the accounting to include backup documentation from all payment streams, including a


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                                                            1 description of distribution rights and distributions resulting from the musical compositions listed in

                                                            2 the judgment’s paragraph 6, or by the four above entities; a list of all payments, including their

                                                            3 sources, made to Marilyn; and any advances to Brian from BMI, plus proof that Marilyn’s share did

                                                            4 not repay advances that she did not share. (Ibid.)

                                                            5          Mannis and Carlo also requested an accounting concerning eight groups of community assets:

                                                            6 (1) BMI (advances to Brian and documents reflecting that Marilyn’s share had not been used to repay

                                                            7 money for advances she did not share); (2) neighboring-rights royalties; (3) SoundExchange

                                                            8 royalties; (4) royalties (writer’s share) from synchronization and other licensing; (5) mechanical

                                                            9 royalties (writer’s share); (6) any other sources of income from the community projects; (7)

                                                           10 producers’ royalties or fees from February 1, 1997, onward from the community musical

                                                           11 compositions; and (8) reversion rights and reversion plans for community songs. (Exh. C, pp. 2-4.)
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                                                           12          While Custer argued that the judgment, paragraph 6, did not include producers’ royalties,
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                                                           13 Mannis and Carlo, disagreeing, replied that, if Custer were correct, those royalties would constitute

                                                           14 undivided community assets, which the Court would have to award equally to the parties under

                                                           15 Family Code section 2556. (Exh. C, p. 3.)

                                                           16          Custer claimed that, for over a decade, Brian had accounted in the same format, though

                                                           17 historically he had omitted underlying UMPG and BMI statements since (1) they included

                                                           18 confidential information about noncommunity songs and (2) under modern, per-track accounting,

                                                           19 they are voluminous and hard to decipher. (Exh. D, p. 2.) Custer said, however, that, under current

                                                           20 circumstances, he was willing to let Marilyn access certain of those statements. Offering backup, he

                                                           21 asserted that Brian’s advances from BMI did not impact Marilyn, who had been paid her ongoing

                                                           22 share of BMI royalties as accrued on statements irrespective of Brian’s recoupment status. (Ibid.)

                                                           23          But Custer claimed that neighboring rights and SoundExchange were “not interests/monies

                                                           24 derived from ‘musical compositions’ (in which Marilyn shares), but rather derive[d] from

                                                           25 performances on ‘sound recordings’.” (Exh. D, p. 2.) He asserted that, under the judgment, “Marilyn

                                                           26 does not share in monies Brian receives in respect of Beach Boys recordings (i.e., producer royalties
                                                           27 are not monies derived from musical compositions),” pointing to the judgment, paragraph 4(D),

                                                           28 which awarded Brian as his separate property “‘all of the community’s right, title and interest in


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                                                            1 Brother Records, Inc.’ (the source of the Beach Boys sound recording income in which Brian shares,

                                                            2 including any producer royalties, which the parties clearly understood based on other provisions of

                                                            3 the Judgment).” (Ibid.)

                                                            4          Likewise, Custer claimed that paragraph 4(E) awarded “Brian ... as his separate property ‘any

                                                            5 interest in the musical group ‘The Beach Boys[,]’...” contrasting that language with “certain minor

                                                            6 Beach Boys related music publishing entities (Brother Publishing and Wilojarston...), where the

                                                            7 Judgment provided Marilyn would be entitled to an ongoing 50% interest.” (Exh. D, p. 2.) Custer

                                                            8 cited paragraphs 59, 60, and 62 as “underscor[ing] that the parties clearly understood Brother

                                                            9 Records, Inc. was the source of sound recording royalties, which was awarded to Brian alone,” and

                                                           10 showing that “Marilyn has no interest in sound recording royalties.” (Id. at p. 3.)

                                                           11          As for reversion rights and reversion plans for community songs, Custer claimed that Brian
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                                                           12 had recovered them in 2021, allowing him to “claim from UMPG going forward the other 50% of
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                                                           13 US earnings that UMPG was retaining the past 60 years, which Brian did not own previously.” (Exh.

                                                           14 D, p. 3.) “Inasmuch as these additional rights were not owned by Brian during the marriage ... and

                                                           15 were only acquired by Brian under federal copyright law by virtue of his surviving to the effective

                                                           16 dates over the past few years..., Marilyn has no interest in and is not entitled to a share of any purchase

                                                           17 price for such interests.” (Id. at pp. 3-4.)

                                                           18          Mannis later wrote Custer to inquire whether the recent sale of Brother Records had included

                                                           19 Brother Publishing—which the judgment had awarded the parties equally—or any of its assets. (Exh.

                                                           20 E, p. 1.) Carlo believed that various publishing rights may also have sold, and so Mannis requested

                                                           21 a copy of the sales agreement so Marilyn could determine whether the sale affected her rights. He

                                                           22 offered to sign the Court’s form protective agreement, attaching a copy. (Ibid.) Ultimately, as 2021

                                                           23 ended, Brian sold Universal community writer shares and cut Marilyn an $11,022,937 check for her

                                                           24 half, but he never provided backup so she could verify the numbers. (Exh. F.) And he offered her

                                                           25 $3,352,439.82 as a quarter of the community reversion rights that he sold to Universal. (Ibid.)

                                                           26          I.      The Judgment Awarded Marilyn an Equal Community Interest in All

                                                           27                  Marital Compositions and Entitles Her to Accountings.

                                                           28          The judgment grants Marilyn the same rights as Brian to all proceeds from the community


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                                                            1 musical compositions, including from royalties. It also gives her the same right to information.

                                                            2          The judgment divides the community property equally, ordering “that the community is the

                                                            3 owner of certain copyrights, contract rights and/or royalty rights in [Brian]’s name with respect to

                                                            4 musical compositions created during the marriage,” and listed 170 of those compositions. (Exh. A,

                                                            5 attachment, p. 7, ¶ 3, pp. 13-20, ¶ 6, italics added.) It then provides for the parties “to equally divide

                                                            6 between themselves the foregoing rights in the community musical compositions listed hereinabove,”

                                                            7 so that each party holds as his “sole and separate property, an undivided one-half (½) interest in said

                                                            8 rights in the community musical compositions as tenants-in-common.” (Id. at p. 20, ¶ 7, italics added.)

                                                            9          Also, the judgment obligates Brian to execute any documents necessary to secure Marilyn’s

                                                           10 right to “receipts from [her] rights in the musical compositions.” (Exh. A, attachment, p. 20, ¶ 8.)

                                                           11 Even if Brian alienates or exploits the compositions, he must protect Marilyn’s interests. (Id. at pp.
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                                                           12 20-21, ¶ 9.) Similar rights and duties govern her interests in Wilojarston, Inc.; Brother Publishing;
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                                                           13 and New Executive Music. (Id. at pp. 23-24, ¶¶ 13-16, pp. 26-29, ¶¶ 20-26, pp. 29-33, ¶¶ 27-33.) The

                                                           14 judgment grants her access to the paragraph 38 Trust Account’s books and records and entitles her

                                                           15 annual audits and quarterly accountings, requiring his cooperation. (Id. at p. 35, ¶¶ 39-40, pp. 40-41,

                                                           16 ¶ 59.) By reserving jurisdiction to enforce Marilyn’s rights, the judgment entitles her to accountings.

                                                           17 (Exh. A, form 1287, item 3(c), attachment, p. 21, ¶ 9, p. 23, ¶ 16, p. 28, ¶ 23, p. 31, ¶ 30.)

                                                           18          II.     Even without the Judgment and the Modification Stipulation, Marylin

                                                           19                  Has the Same Rights as Brian to Royalties from All His Marital Works.

                                                           20          Even if the judgment had not awarded Marilyn an equal community interest in Brian’s marital

                                                           21 works, the law would have granted her that interest, and she could now seek an award of the interest

                                                           22 as an omitted or unadjudicated asset. She thus has the right to an accounting.

                                                           23                  A.      Marilyn has the right to royalties from all of Brian’s marital works.

                                                           24          “Except as otherwise provided by statute, all property, real or personal, wherever situated,

                                                           25 acquired by a married person during the marriage while domiciled in this state is community

                                                           26 property.” (Fam. Code, § 760.) (Except where context suggests otherwise, all section citations run to
                                                           27 the Family Code.) Here, the marriage lasted from December 7, 1964, to 1978.

                                                           28          “A royalty is generally defined to mean compensation given to the copyright owner for


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                                                            1 permission to use the copyrighted work.” (In re Marriage of (“IRMO”) Worth (1987) 195 Cal.App.3d

                                                            2 768, 772, fn. 3.) It therefore captures compensation for all forms of a copyright’s exploitation.

                                                            3          In Worth, the spouses agreed to divide equally the royalties from books that the husband had

                                                            4 written during the marriage. (Worth, supra, 195 Cal.App.3d at p. 771.) Later, he sued the producers

                                                            5 of the board game Trivial Pursuit in federal court, alleging they had infringed his copyright by

                                                            6 plagiarizing his books to create certain questions. Based on their divorce agreement, a California

                                                            7 superior court declared the wife’s entitlement to half of any proceeds derived from that suit. (Ibid.)

                                                            8          Affirming, the Court of Appeal recognized that, in agreeing to the wife’s entitlement to half

                                                            9 of the royalties on books he had written during the marriage, the husband had “at least tacitly

                                                           10 conceded the community property nature of the books themselves.” (Worth, supra, 195 Cal.App.3d

                                                           11 at p. 774.) Worth held that, “[i]f the artistic work is community property, then it must follow that the
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                                                           12 copyright itself obtains the same status.” (Ibid.) Under copyright legislation, “a copyright is
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                                                           13 automatically acquired upon expression of the work” under 17 United States Code sections 102(a)

                                                           14 and 302(a). (Ibid.) “Since the copyrights derived from the literary efforts, time and skill of [the]

                                                           15 husband during the marriage, such copyrights and related tangible benefits must be considered

                                                           16 community property.” (Ibid., italics added.)

                                                           17          Because 17 United States Code section 201(d)(1) expressly provided for the transfer of a

                                                           18 copyright by contract, by will, “‘or by operation of law,’” even though the copyright vested initially

                                                           19 in the authoring spouse under section 201(a), it “automatically transferred to both spouses by

                                                           20 operation of the California law of community property.” (Worth, supra, 195 Cal.App.3d at p. 774.)

                                                           21 While a copyright constitutes an “intangible interest separate and distinct from the tangible creative

                                                           22 work,” it remains personalty subject to community-property law. (Id. at pp. 774-775, citing 17 U.S.C.

                                                           23 § 202.) “The fact that a copyright is intangible will not affect its community character or the

                                                           24 community nature of any tangible benefits directly associated with the copyright.” (Id. at p. 775.)

                                                           25 Worth thus confirmed the wife’s entitlement to royalties stemming from the books. (Id. at p. 775-

                                                           26 776, italics added.)
                                                           27          Undeterred, the husband contended that the trial court could not divide any proceeds from the

                                                           28 federal suit since the divorce decree, which provided for the royalties’ equal division, “reserved


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                                                            1 jurisdiction only to resolve ‘issues that may subsequently arise regarding the distinction between a

                                                            2 re-edition or complete reworking of [a] book....’” (Worth, supra, 195 Cal.App.3d at p. 775.)

                                                            3          Rejecting the argument as “specious,” Worth noted that “[t]he preprinted interlocutory

                                                            4 judgment form contain[ed] a provision”—identical to the one Brian and Marilyn used (exh. A, p. 1,

                                                            5 item 3(c))—”expressly reserving jurisdiction ‘to make such other and further orders as may be

                                                            6 necessary to carry out the provisions of this judgment.’” (Worth, supra, 195 Cal.App.3d at pp. 775-

                                                            7 776.) The appellate court understood the order “was obviously intended to carry out the provisions

                                                            8 of paragraph 8 of the interlocutory decree providing for equal division of royalties.” (Id. at p. 776.)

                                                            9          Still, the husband asserted that the decree “purported to divide only the royalties from the

                                                           10 books and not the copyrights... .” (Worth, supra, 195 Cal.App.3d at p. 776.) He reasoned that, since,

                                                           11 under 17 United States Code section 202, a transfer of the literary property does not convey any of
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                                                           12 the statutory rights attached to the work, “his agreement to share the royalties did not effect a transfer
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                                                           13 to [the] wife of an interest in the copyrights, without which she ha[d] no colorable claim to share in

                                                           14 any proceeds arising from infringement of the statutory right to the exclusive use of the books to

                                                           15 prepare derivative works” under 17 United States Code section 106. (Ibid.)

                                                           16          Seeing through the ruse, the Court of Appeal observed that the argument failed to consider

                                                           17 the community nature of the copyrights. (Worth, supra, 195 Cal.App.3d at p. 776.) While the decree

                                                           18 “divided only the future book royalties and not the intangible copyrights, nonetheless, as property

                                                           19 interests acquired during the marriage which remained undistributed under the terms of the

                                                           20 interlocutory judgment, [the] husband and [the] wife would hold title to such undivided interests in

                                                           21 the copyrights as tenants in common.” (Ibid., italics added.) “As a common owner of the copyright,

                                                           22 [the] wife would be entitled to share in all of the proceeds therefrom, including any settlement or

                                                           23 award of damages resulting from the copyright infringement.” (Ibid.)

                                                           24          In sum, because the decree did not dispose of the copyrights, the parties “remain[ed] as co-

                                                           25 owners of an undivided interest in the copyrights” and were “entitled to share equally in any of the

                                                           26 proceeds directly or indirectly related to the pending federal lawsuit for copyright infringement.”
                                                           27 (Worth, supra, 195 Cal.App.3d at p. 778; see Lorraine v. Lorraine (1935) 8 Cal.App.2d 687, 701-

                                                           28 702 [patents husband applied for during marriage and assigned to his corporation were community


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                                                            1 property; trial court properly set aside judgment to award wife equal share, including increase].)

                                                            2          The same statute Worth interpreted applies to music royalties. 17 United States Code section

                                                            3 102(a) grants copyright protection to works of authorship in eight categories, including “literary

                                                            4 works” (subdivision (a)(1)); “musical works, including any accompanying words” (subdivision

                                                            5 (a)(2)); and “sound recordings” (subdivision (a)(8)).

                                                            6          Here, the Wilsons’ judgment (a judgment entered after a trial approving the fairness of all the

                                                            7 terms, etc.) expressly awarded Marilyn her share of copyrights, contract rights, and royalty rights

                                                            8 concerning marital musical compositions as well as “rights in the community musical compositions”

                                                            9 themselves. (Exh. A, attachment, p. 7, ¶ 3, pp. 13-20, ¶¶ 6-7; see Mannis decl.) Again, besides

                                                           10 referencing “the common ownership of assets enumerated in this Judgment,” the judgment expressly

                                                           11 ordered “that the community is the owner of certain copyrights, contract rights and/or royalty rights
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                                                           12 in [Brian]’s name with respect to musical compositions created during the marriage… .” (Id. at p.
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                                                           13 13, ¶ 6, p. 35, ¶ 39(C), italics added.) Those provisions respect Family Code section 751, which

                                                           14 provides that “[t]he respective interests of each spouse in community property during continuance of

                                                           15 the marriage relation are present, existing, and equal interests.” (Italics added.)

                                                           16          Since the judgment held the community is the owner of the 170 copyrights, the community

                                                           17 must also own the reversion rights in those copyrights, although exercised through Brian. (Pub.L.

                                                           18 No. 94-553 (Oct. 19, 1976) 90 Stat. 2575; 17 U.S.C. 304(c)(3); Burroughs v. MGM (2d Cir. 1982)

                                                           19 683 F.2d 610, 617 [17 U.S.C. 304(c), “under certain conditions, allows a living author…to terminate

                                                           20 a copyright grant fifty-six years after the copyright was originally secured”].)

                                                           21                  B.      Marilyn may move at any time for an award of any marital work as

                                                           22                          an omitted or unadjudicated community asset.

                                                           23          Even if the judgment had neglected to award Marilyn her share of a musical composition, she

                                                           24 could move any time for an award of it as an omitted or unadjudicated community asset.

                                                           25          Family Code section 2556 requires a court to award and generally equally divide any omitted

                                                           26 or unadjudicated community asset: “In a proceeding for dissolution of marriage, ... the court has
                                                           27 continuing jurisdiction to award community estate assets ... to the parties that have not been

                                                           28 previously adjudicated by a judgment in the proceeding.” A party thus may “file a postjudgment


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                                                            1 motion ... in the proceeding ... to obtain adjudication of any community estate asset ... omitted or not

                                                            2 adjudicated by the judgment,” and “the court shall equally divide the omitted or unadjudicated

                                                            3 community estate asset or liability, unless the court finds upon good cause shown that the interests

                                                            4 of justice require an unequal division of the asset or liability.” (Ibid.)

                                                            5           That section provides courts with “continuing jurisdiction to divide omitted or unadjudicated

                                                            6 community property.” (IRMO Huntley (2017) 10 Cal.App.5th 1053, 1056.) Huntley held a default

                                                            7 judgment’s “silence as to any division of property require[d] reversal and remand for further

                                                            8 proceedings under sections 2550 and 2556.” (Ibid.) Even when a judgment partially adjudicates

                                                            9 community property, a spouse retains the right, with no time limit, to adjudicate any assets about

                                                           10 which it remains silent. (Id. at pp. 1059-1060.) That power extends, of course, to the community

                                                           11 reversion rights. “[T]here is no statute of limitations imposed by ... section 2556 on a former spouse
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                                                           12 who seeks adjudication of omitted or unadjudicated community property.” (Id. at p. 1060.)
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                                                           13           III.    Concerning All Undistributed Community Assets, Brian Has Always Owed

                                                           14                   Marilyn Broad Fiduciary Duties, including the Duty to Account.

                                                           15           Independent of the judgment, the Family Code imposes continuing fiduciary duties on Brian

                                                           16 concerning the property that the judgment awarded Marilyn but that he controls.

                                                           17           “By statute, the int[er]spousal confidential relationship and Fam.C. § 721(b) fiduciary

                                                           18 obligations continue postseparation . . . [¶] . . . for so long as one spouse has control over an

                                                           19 undistributed asset or liability. . . .” (Hogoboom & King, Cal. Practice Guide: Family Law (The

                                                           20 Rutter Group 2021) ¶ 9:238.)

                                                           21           Section 2102, subdivision (a), provides that, “[f]rom the date of separation to the date of the

                                                           22 distribution of the community or quasi-community asset or liability in question, each party is subject

                                                           23 to the standards provided in Section 721, as to all activities that affect the assets and liabilities of the

                                                           24 other party... .” (Italics added.)1

                                                           25           Section 721, subdivision (b), in turn, states that, subject to certain exceptions that do not apply

                                                           26 here, “in transactions between themselves, spouses are subject to the general rules governing
                                                           27

                                                           28
                                                                1
                                                                    Marilyn uses “community” as a synecdoche for “community” and “quasi-community.”
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                                                            1 fiduciary relationships that control the actions of persons occupying confidential relations with each

                                                            2 other,” adding that “[t]his confidential relationship imposes a duty of the highest good faith and fair

                                                            3 dealing on each spouse, and neither shall take any unfair advantage of the other.”

                                                            4           Subdivision (b) continues: “This confidential relationship is a fiduciary relationship subject

                                                            5 to the same rights and duties of nonmarital business partners, as provided in Sections 16403, 16404,

                                                            6 and 16503 of the Corporations Code, including, but not limited to,” three sets of duties: (1) providing

                                                            7 each spouse access at all times to any books kept regarding a transaction for inspection and copying;

                                                            8 (2) rendering upon request true and full information of all things affecting any transaction that

                                                            9 concerns the community property; and (3) “accounting to the spouse, and holding as a trustee, any

                                                           10 benefit or profit derived from any transaction by one spouse without the consent of the other spouse

                                                           11 that concerns the community property.”
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                                                           12           Separately, section 2102, subdivision (a), lists a nonexclusive set of “activities” for which
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                                                           13 one spouse owes the other a fiduciary duty concerning each community asset until its distribution,

                                                           14 including (1) the accurate and complete disclosure of all assets and liabilities in which the party has

                                                           15 or may have an interest or obligation and all current earnings, accumulations, and expenses, including

                                                           16 an immediate, full, and accurate update or augmentation to the extent there have been material

                                                           17 changes; (2) the accurate and complete written disclosure of any investment opportunity, business

                                                           18 opportunity, or other income-producing opportunity that presents itself after the date of separation

                                                           19 but that results from any investment, significant business activity outside the ordinary course of

                                                           20 business, or other income-producing opportunity of either spouse from the date of marriage to the

                                                           21 date of separation, with written disclosure made in sufficient time for the other spouse to make an

                                                           22 informed decision whether to participate and for the court to resolve any related dispute; and (3) the

                                                           23 operation or management of a business interest in which the community may have an interest.

                                                           24           Thus, regardless of Brian’s right to control or sell a community asset, including a business

                                                           25 interest, he owes fiduciary duties to account to Marilyn and to inform her of related opportunities.

                                                           26           Section 2102, subdivision (b), fortifies those duties, confirming that they last until an asset’s

                                                           27 actual distribution: “From the date that a valid, enforceable, and binding resolution of the disposition

                                                           28 of the asset or liability in question is reached, until the asset or liability has actually been distributed,


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                                                            1 each party is subject to the standards provided in Section 721 as to all activities that affect the assets

                                                            2 or liabilities of the other party.” (Italics added.) Only when “a particular asset or liability has been

                                                            3 distributed” will “the duties and standards set forth in Section 721 ... end as to that asset or liability.”

                                                            4 (Ibid., italics added.)

                                                            5          One decision interpreted the phrase “valid, enforceable, and binding resolution of all issues

                                                            6 relating to child ... support” within section 2102, subdivision (c), as meaning “a final judicial child

                                                            7 support determination, whether obtained pursuant to agreement of the parties or after litigation of the

                                                            8 matter before the court.” (IRMO Sorge (2012) 202 Cal.App.4th 626, 655, 657.)

                                                            9          The identical language in section 2102, subdivision (b)’s phrase “From the date that a valid,

                                                           10 enforceable, and binding resolution of the disposition of the asset or liability in question is reached”

                                                           11 therefore must mean a final disposition of an asset, such as through a judgment. (See People v. Coker
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                                                           12 (2004) 120 Cal.App.4th 581, 588 [“To understand the intended meaning of a statutory phrase, we
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                                                           13 may consider use of the same or similar language in other statutes, because similar words or phrases

                                                           14 in statutes in pari materia [that is, dealing with the same subject matter] ordinarily will be given the

                                                           15 same interpretation... .”].)

                                                           16          Under subdivisions (a) and (b), then, Brian’s fiduciary duties to Marilyn persisted after the

                                                           17 entry of judgment in 1981 and will continue for each community asset until the actual distribution of

                                                           18 her share to her. Those fiduciary duties impose exacting standards on him. (See Feresi v. The Livery,

                                                           19 LLC (2014) 232 Cal.App.4th 419, 425.)

                                                           20          The law penalizes the violation of an interspousal fiduciary duty. For example, a spouse may

                                                           21 incur severe sanctions for violating the duty under section 2102, subdivision (a)(2), to disclose

                                                           22 business opportunities resulting from any marital investment, significant business activity outside

                                                           23 the ordinary course of business, or other income-producing opportunity of either spouse. (See IRMO

                                                           24 Feldman (2007) 153 Cal.App.4th 1470, 1492–1493.)

                                                           25          If a party fails to comply with any provision of the Family Code, division 6, part 1, chapter

                                                           26 9—which includes section 2102—“the court shall, in addition to any other remedy provided by law,
                                                           27 impose money sanctions against the noncomplying party.” (§ 2107, subd. (c).) Section 2107 specifies

                                                           28 that “[s]anctions shall be in an amount sufficient to deter repetition of the conduct or comparable


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                                                            1 conduct, and shall include reasonable attorney’s fees, costs incurred, or both, unless the court finds

                                                            2 that the noncomplying party acted with substantial justification or that other circumstances make the

                                                            3 imposition of the sanction unjust.” (§ 2107, subd. (c).) “‘Shall’ is mandatory... .” (§ 12.)

                                                            4          A spouse is “subject to sanctions under section 2107 for breaching his dissolution disclosure

                                                            5 obligations related to both his separate and community interests... .” (IRMO Schleich (2017) 8

                                                            6 Cal.App.5th 267, 280.) “Together, sections 271 and 2107 ‘give the trial court authority to order

                                                            7 sanctions and the payment of attorney fees for breach of a party’s fiduciary duty of disclosure and

                                                            8 for conduct which frustrates the policy of promoting settlement.’” (Sorge, supra, 202 Cal.App.4th at

                                                            9 p. 652.)

                                                           10          While Brian may argue that the 1981 judgment preceded the modern statutory fiduciary-duty

                                                           11 scheme within the Family Code, even decades earlier the law would have assigned him similar duties.
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                                                           12 The Supreme Court explained in 1961, in Vai v. Bank of America National Trust & Savings
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                                                           13 Association, that “the fact of the husband’s management and control of the community property

                                                           14 places him in the position of trustee for his wife as to her community interest, which trust continues

                                                           15 even after separation.” (Clark v. Clark (1961) 195 Cal.App.2d 373, 380, citing Vai v. Bank of

                                                           16 America National Trust & Savings Ass’n (1961) 56 Cal.2d 329, 337-338.)

                                                           17          Even when trust no longer bonds husband and wife and their confidential relationship thus

                                                           18 terminates, the control by one over the property of the other will maintain their fiduciary relationship.

                                                           19 (Rader v. Thrasher (1962) 57 Cal.2d 244, 249; Vai, supra, 56 Cal.2d at p. 338.)

                                                           20         IV.      The Court Should Order Brian to Account to Marilyn for All Community

                                                           21                  Royalties Over the Past Seven Years.

                                                           22          Given Marilyn’s right to community royalties and Brian’s duties to Marilyn, the Court should

                                                           23 order Brian to account to Marilyn for all the community entities, including Brother Publishing, and

                                                           24 for all payments owed or made to Marilyn over the past seven years, as well as the writer-share and

                                                           25 reversion sales. Once she digests the accounting, she will decide whether to seek a further accounting.

                                                           26 Meanwhile, the Court should order Brian to pay her what he owes, plus interest.
                                                           27 Dated: February 17, 2022                        Respectfully submitted,
                                                                                                              HERSH MANNIS LLP
                                                           28                                         By:     ______________________________
                                                                                                              Andrew Stein, Attorneys for Respondent

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                              DECLARATION


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                              DECLARATION


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                                                                1                               DECLARATION OF JAMES M. SIMON

                                                                2           I, James M. Simon, declare:

                                                                3           1.     I am an attorney at law duly licensed to practice before all the courts in the State of

                                                                4 California. I am a partner of the law firm of Hersh Mannis LLP (“HM”), counsel of record for

                                                                5 Respondent Marilyn Wilson-Rutherford. I have personal knowledge of the facts set forth below and,

                                                                6 if called as a witness, I could and would competently testify thereto.

                                                                7           2.     At HM, we practice exclusively in family law. I received my undergraduate degree

                                                                8 from UCLA and my JD from Loyola law School in 1983, where I graduated Cum Laude and received

                                                                9 the Am Jur award in Family Law and the LACBA Family Law scholarship award. I have been
                                                               10 practicing law for 38 years and family law has been my primary area of practice. I have represented
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                                                               11 the out-spouse in multi-million-dollar disputes over the character and division of property.
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                                                               12           3.     I have been helping Joseph Mannis, the lead partner on this case, in the present dispute
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                                                               13 over Marilyn’s entitlement to an accounting and royalties and have participated in many meetings

                                                               14 and phone conferences with him. I will continue to work on this case as a supervisor and a litigator.

                                                               15 My regular hourly billing rate is $775.

                                                               16           4.     One of the thorniest disputes concerns whether Marilyn has reversion rights regarding

                                                               17 songs that Brian created during the marriage. At some point, Brian had granted companies the right

                                                               18 to exploit those songs, but the Copyright Act’s creation of reversion rights allowed him to terminate

                                                               19 those grants and reclaim ownership of the underlying intellectual property. Brian admits to having
                                                               20 later sold some of those reversion rights. For those sales, Brian admits to having received, net of

                                                               21 commissions, $19,255,829. He asserts that, of that amount, $13,409,759 related to songs he created

                                                               22 during the marriage. Since we are now litigating and Marilyn is claiming half of at least the

                                                               23 $13,409,759 based on Brian’s computation of the reversion sales price of the community property

                                                               24 musical compositions, the parties stand apart by some $6,704,879.

                                                               25           5.     So far, HM has expended about $48,236 (not including certain work in progress)

                                                               26 exploring and negotiating Marilyn’s rights in intellectual property that Brian created during their

                                                               27 marriage and in preparing this request for order. Based on my participation in this case, review of

                                                               28 the file, and my understanding of the rights at stake, I believe that Marilyn will need at least $250,000

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                                                                                                 DECLARATION OF JAMES M. SIMON, ESQ.

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                                                                1 in attorneys’ fees. Based on my extensive work with accounting firms in family law matters, I further

                                                                2 believe that Marilyn will need at least $250,000 in accounting costs to conduct appropriate discovery,

                                                                3 to digest the financial information obtained from discovery, to prepare schedules and other evidence

                                                                4 based on the information obtained to provide the Court a cogent presentation of the sums due Marilyn

                                                                5 from accountings, and otherwise to litigate those issues in this court. With Marilyn standing as the

                                                                6 out-spouse in the complex world of music-business royalties, I believe those fee amounts reflect the

                                                                7 minimum.

                                                                8           6.     If, moreover, Brian succeeds in removing part of this case to federal court, then I

                                                                9 believe Marilyn’s fees and costs would run significantly higher, as Ms. Eskenazi explains in her
                                                               10 accompanying declaration.
                   PHONE: (310) 786-1910 FAX: (310) 786-1917




                                                               11           I declare under penalty of perjury under the laws of the State of California that the foregoing
                    9150 WILSHIRE BOULEVARD, SUITE 209
                        BEVERLY HILLS, CA 90212-3429




                                                               12 is true and correct. Executed on this 17th day of February, 2022, at Beverly Hills, California.
HERSH MANNIS LLP




                                                               13

                                                               14                                                          James M. Simon

                                                               15

                                                               16

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                                                                                                                     -2-
                                                                                                 DECLARATION OF JAMES M. SIMON, ESQ.

                                                                    1388656.4
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                              DECLARATION


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                              DECLARATION


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                              DECLARATION


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                                     Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 64 of 182 Page ID #:77



                                                            1                             DECLARATION OF BONNIE ESKENAZI

                                                            2           I, BONNIE ESKENAZI, declare:

                                                            3           1.     I am a partner at Greenberg Glusker LLP. Hersh Mannis LLP has retained me in this

                                                            4 case on behalf of Respondent Marilyn Wilson-Rutherford.

                                                            5           2.     I have specialized in entertainment law since 1986. My clients have included, among

                                                            6 others, Marvel Entertainment, Jeffrey Katzenberg, the Estate of JRR Tolkien, Paramount Pictures,

                                                            7 DreamWorks, MGM, STX Entertainment, EndemolShine North America, Bron Studios, Marlon

                                                            8 Brando, Hans Zimmer, HarperCollins Publishing, Renée Fleming, Joshua Bell, Itzhak Perlman,

                                                            9 Ziggy Marley, Playboy Enterprises, Harvey Entertainment (as both a litigator and outside general

                                                           10 counsel), DIC Entertainment, Lagardere Entertainment, Elle Macpherson, Geffen Records, Horror

                                                           11 Inc. (owners of the rights to Friday the 13th), Bagdasarian Productions (owners of the Chipmunks),
               PHONE: (310) 786-1910 FAX: (310) 786-1917
                9150 WILSHIRE BOULEVARD, SUITE 209




                                                           12 and Stephen Slesinger Inc. (owners of rights in Winnie the Pooh). I also serve as outside general
                    BEVERLY HILLS, CA 90212-3429
HERSH MANNIS LLP




                                                           13 counsel for the Bob Marley Estate. I have served on Greenberg Glusker’s management committee

                                                           14 for the past fifteen years. I teach a course in Entertainment Law at Stanford Law School and am an

                                                           15 annual guest lecturer at Harvard Law School in its Entertainment Law class.

                                                           16           3.     In my entertainment practice over the past 35 years, I have handled matters of all

                                                           17 kinds, including without limitation profit participations (including both audits and litigated disputes

                                                           18 for film, television and music), copyrights, trademarks, defamation, privacy rights and rights of

                                                           19 publicity, life rights for potential biographical films and television, breach of contract, breach of

                                                           20 fiduciary duty, various torts (such as fraud, interference with contract, interference with prospective

                                                           21 business advantage), licensing and merchandising. In particular, as outside general counsel for the

                                                           22 Bob Marley Estate, I handle or oversee every aspect of the rights (transactional and litigation) held

                                                           23 by the heirs to the late Bob Marley and their entities all over the world, including without limitation

                                                           24 all music publishing, sound recordings, royalties, copyrights, trademarks, name, image and likeness

                                                           25 rights.

                                                           26           4.     Among my many cases involving copyright issues, I have been involved in litigating

                                                           27 some of the most significant copyright termination (sometimes referred to as reversion rights) cases,

                                                           28 including Oriolo v. Harvey Entertainment (copyright termination rights in the character Casper The
                                                                3                                               -1-
                                                                5                              DECLARATION OF BONNIE ESKENAZI
                                                                8
                                                                5
                                                                1420137.5
                                     Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 65 of 182 Page ID #:78



                                                            1 Friendly Ghost)(unreported, settled out of court), Classic Media v. Mewborn, 532 F. 3d 978 (9 th Cir.

                                                            2 2008)(copyright termination rights in the character Lassie), Milne ex rel. Coyne v. Stephen Slesinger,
                                                                                    th
                                                            3 Inc., 430 F.3d 1036 (9 Cir. 2005) (copyright termination rights concerning the character Winnie the
                                                                                                               nd
                                                            4 Pooh), and Horror Inc. v. Miller, 15 F.4th 232 (2 Cir. 2021)(copyright termination rights in the
                                                                                                   th
                                                            5 script for the original Friday the 13 film).

                                                            6           5.     Under the Copyright Act of 1976, section 304(c), which became effective January 1,

                                                            7 1978, an author of intellectual property gained the right to terminate and recapture any copyright that

                                                            8 was subsisting in either its first or renewal term as of January 1, 1978, that was the subject of a grant

                                                            9 executed prior to January 1, 1978. Through that termination mechanism, the author would regain or

                                                           10 recapture his or her copyright (“Reversion Rights”).

                                                           11           6.     In January 2022, I spoke by phone with Eric Custer, one of the lawyers for Petitioner
               PHONE: (310) 786-1910 FAX: (310) 786-1917
                9150 WILSHIRE BOULEVARD, SUITE 209




                                                           12 Brian Wilson, about Brian’s claims concerning the Reversion Rights affecting songs that he had
                    BEVERLY HILLS, CA 90212-3429
HERSH MANNIS LLP




                                                           13 written during his marriage to Marilyn. In short, Mr. Custer maintained that Marilyn had no rights,

                                                           14 whether based on community-property law or on the parties’ 1979 judgment, in any of Brian’s

                                                           15 Reversion Rights. Marilyn is claiming a right to 50 percent of the Reversion Rights for all intellectual

                                                           16 property that Brian created during the marriage. Based on my conversation with Mr. Custer, it is my

                                                           17 opinion that he may attempt to remove the Reversion Rights issue to federal court.

                                                           18           7.     My hourly rate is $1,000 per hour. As of February 7, 2022, my firm has billed

                                                           19 $10,075.00 to this matter. Should Brian seek to remove the Reversion Rights issue to federal court,

                                                           20 I believe, based on my experience, that Marilyn would have to expend at least $100,000 in attorneys’

                                                           21 fees to litigate just the removal issue. In addition, I anticipate the cost of litigating just the issue of

                                                           22 the Reversion Rights in federal court to be in the range of $500,000, if not more, depending on the

                                                           23 way Manatt litigates. I have litigated innumerable cases in federal court over my 35 years of practice,

                                                           24 including without limitation music royalty cases and Reversion Rights cases (as indicated above).

                                                           25           I declare under penalty of perjury under the laws of the State of California that the foregoing

                                                           26 is true and correct.

                                                           27           Executed on this 16th day of February, 2022, at Los Angeles, California.

                                                           28                                                                  _____________________
                                                                                                                               BONNIE ESKENAZI
                                                                3                                                 -2-
                                                                5                               DECLARATION OF BONNIE ESKENAZI
                                                                8
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                                                                1420137.5
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                               EXHIBIT A

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                             EXHIBIT A1
         Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 110 of 182 Page ID
                                            #:123

                 BARBAKOW & LERNER
„                MARC LERNER
           2     State Bar Number 57601
                 11661 San Vicente Boulevard, Suite 1010
           3     Los Angeles, California 90049
                 Telephone: (310) 571-3255
           4     Facsimile: (310) 820-1594

           5               - and -
           6    MANNIS & PHILLIPS, L.L.P.
                JOSEPH MANNIS
           7     State liar Number 51098
                 2029 Century Park.East, Suite 1200
           8     Los Angeles, California 90067
                 Telephone: (310) 277-7117
           9     Facsimile: (310) 286-9182 and (310) 277-0971

          10     Attorneys for Respondent
                 MARILYN WILSON

    e•    11
          12
          13                           SUPERIOR
                                           COURT
                                               OF
                                                THE
                                                  STATE
                                                     OF CALIFORNIA
          14                              FOR
                                            THE
                                              COUNTY
                                                  OF
                                                   LOS
                                                     ANGELES
          15
          16     In re the Marriage of                               )   Case No. D 983 605
                 PETITIONER:
                        BRIAN
                           WILSON                                    )
          17                                                         )   STIPULATION MODIFYING
                                                                     )   JUDGMENT AND ORDER THEREON
          18         and                                             )   AND ORDER ON ORDER TO SHOW
                                                                     )   CAUSE
          19     RESPONDENT: MARILYN WILSON                          )
          20
                                                                     )   OSC
                                                                         Date: April 1, 1997
                                                                         Time: 8:30 a.m.
          21                                                             Dept: 27
          22                                                             Trial
                                                                         Date: July 16, 17 & 18, 1997
          23                                                             Time: 1:30 p.m.
                                                                         Dept: 27
          24
          25               This Stipulation and Order is made in reference to the following facts:
          26               a.        An Interlocutory Judgment of Dissolution of Marriage between the parties was
          27     filed and entered on or about March 4, 1981 ("Judgment").
           28

                 F:1WPCIATA WILSOMPLEADING.04                                                        MARRIAGE OF WILSON
                 April 7. 1997 {ICP32am):JM:d13                                                      LASC Caw No. D 983 505
              Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 111 of 182 Page ID
                                                 #:124


                   I            b.       Respondent filed an order to show cause for various orders regarding
                   2    restraining Petitioner and his agents from withholding Respondent's, share of marital
                   3    royalties, for the payment of certain sums of money, accounting, attorneys' fees, et al. on or
                   4    about November 19, 1996.
                   5            c.       Respondent also filed an order to show cause for   áttorney's fees and
                   6    advancement of royalties which is presently set for hearing on April 1, 1997.

                   7            J.       Melinda Wilson, is the duly-appointed conservator of the person and estate of

                   8    Brian Wilson and has the authority to execute this settlement on behalf of Brian Wilson.

                   9          • IT IS HEREBY STIPULATED as follows:

                   io           1.       All of Respondent's Pending Orders. to Show Cause shall go "off calendar",
                        with prejudice (except as to Respondent's rights as set forth in paragraph 8 hereinbelow).

                   12           2.       Petitioner shall pay to Respondent the sum of three hundred' thousand dollars

       8     e-L.‘ 13   ($300,000) payable as follows:
                   14                    a.       One hundred fifty thousand dollars ($150,000) forthwith;
8 igh
     y
     ,•       -•   15                    b.       The sum of one hundred fifty thousand dollars ($150,000) on or before
•    g 1".


       gi5
        ä

                   16   October 1, 1997; and
..
             ".; 17                               The aforesaid payment of $300,000 shall not be an charge against or
                   18   off set against any funds due the Respondent pursuant to the Judgment and this Stipulation

W19                     Modifying Judgment and Order Thereon and Order on Order to Show Cause for the period
                   20   commencing February 1, 1997, and thereafter. Such $300,000 payment satisfies in full
                   21   Respondent's claims that the deductions set forth on the accountings mentioned in paragraph
                   22   3 hereinbelow are incorrect and/or improper as well as claims of Petitioner that the
                   23   deductions set forth on the accountings mentioned in paragraph 3 hereinbelow are correct and

                   24   proper and that Respcindent is liable for additional and further contributions from her share
                   25   of marital royalties as a result of fees, Costs and expenses necessarily incurred by Petitioner
                   26   in connection with various actions taken by Petitioner in defense andior prosecution of claims
                   27   relating to marital royalties as noted in paragraph 4, below. It is the intent of the parties that
                   28

                        F:19,9DATMWILSONIPLEADING.04                                                      MARRIAGE OF WILSON
                        April 7. 197 (I0:32am):JM:d1s                    -2-                              LASC Case No. D 983 605
            Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 112 of 182 Page ID
                                               #:125


                  I   said payment herein referenced ($300,000.00) shall not be charged in any future periods
                 2    against Respondent's share of marital royalties.
                 3             3.        Petitioner waives all claims for recoupment of' any monies claimed due .
                 4    Petitioner pursuant to the Judgment or otherwise arising out of or connected with any kamia
                 5    claims, demands, causes of action, causes, expenses, debts, et al. or the like through the date
                 6    of signature on this Stipulation Modifying Judgment and Order Thereon and Order on Order
                      to Show Cause. Without limiting the generality of the foregoing, Petitioner waives and

                  8   releases all claims for offset or deduction which he has pursuant to the accountings provided
                  9   by Brenner & Glassberg through December 31, 1996 (which reflects a net unrecouped legal
                 10   expense of $347,110.60 and as augmented by Brenner & Glassberg's letter of February 7,
                 11   1997, indicating a marital share of royalties in the sum of $9,715.23 were due for the month
           e- 12      of January 1997).
                 13                      It is the intent of this paragraph 3 that, as of February .1, 1997, all receipts of

e                14   marital royalties of community sums as set forth in the Judgment and received prior to
e _UN
toe.:1319,
    4  4-        15   February 1, 1997 will be divided pursuant to the Judgment (any and all previous
             g
        0'1,17
                 16   modifications thereof) as it may be amended by this Stipulation Modifying Judgment and
           Z, 17      Order on Order to Show Cause without deduction or offset (except as specifically authorized
                 18   by paragraph 5 hereinbelow).
                 19            4.        Petitioner further releases Respondent from all claims for offset or

                 20   reimbursement whatsoever that Petitioner may have arising out of or connected with any
                 21   action, formal demand in writing or litigation which has been received or commenced prior
                 22   to' the date of signing this Stipulation or, which is presently known by Petitioner or his
                 23   representatives.
                 24             5.       In the event that a claim is made by Petitioner pursuant to the Judgment that

                 25   Respondent must share in any expense regarding the community (marital royalties) of the
                 26   parties, then Petitioner must deposit an amount from the share of the royalties equal to 100%

                 27   of Respondent's gross payment of the disputed expense in a blocked account. By way of
                 28   example only, if Petitioner believes that Respondent should be charged with $5,000 of

                       FAWPDATA WiLSONVLEADING.04                                                            MARRIAGE OF WILSON
                       April 7. 1997 (10:32am):334:dts                    -3-                                LASC Case No, D 983 605
Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 113 of 182 Page ID
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      expenses pursuant to the Judgment, he shall withhold $10,000 ($5,000 from his share and
      $5,000 from Respondent's share) and deposit same into a blocked account requiring joint
      signatures of the parties or their representatives or court order for the withdrawal of any
       sums contained therein.
               6.       a.        Subject to and pursuant to the terms of paragraph 6.b. below,
      Respondent shall be paid sixteen percent (16%) of any net proceeds which may be incurred

       by Petitioner on and/or after February 1, 1997 arising out of and in connection with the
       Billet litigation.
                         b.       The participation by Respondent in sixteen (16%) of net proceeds shall
       be computed by subtracting from any recovery by Petitioner in the Billet litigation that
       amount reflecting attorneys' and experts' fees and costs incurred by Respondent on and/or
       after February 1, 1997, deducting that total sum from the totality of the amounts, if any,
       recovered by Petitioner in said litigation and multiplying that difference by sixteen percent
       (16%). The product so computed will be the amount, if any, in which Respondent shall
       participate from the net proceeds of the Billet litigation as herein defined.
                         c.       Respondent will have no responsibility to pay from her funds any

       portion of the Billet litigation fees and costs. Her responsibility shall be limited to her share
       of funds as set forth in this paragraph 6, if any, received from the Billet litigation.
                         d.       in the event there is an affirmative reCovery by petitioner in the Billet
       litigation which, pursuant to the computation set forth in paragraph 6.b. above, results in a
       recovery due to Respondent, such sum shall be payable to Respondent forthwith upon receipt
       by Petitioner of payment from or on behalf of Billet, but in no event later than thirty (30)
       days from receipt of said payment by Petitioner.
                         e.       It is specifiCally agreed that any such payment to Respondent as
       hereinabove referenced shall specifically be exclusive of any and all sums due to Mike Love,
       if at all, from the proceeds of the Billet recovery as specifically set forth in the Stipulated
       Judgment In re Love v. Wilson.



       FAWPDATA1WILSONTLEADIN0.04                                                           MARRIAGE OF WILSON
       April 7. 1997 (10:32am):JM:sas                      4-                               LASC Case No. D 983 fO5
        Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 114 of 182 Page ID
                                           #:127


            I            7.       Both parties hereby approve Arnold Glassberg as the trustee of the community
            2    funds pursuant to paragraph 38 of the Judgment. Mr. Glassberg's signature hereunder
            3    acknowledges the fact that he serves as a trustee of both parties in the preparation of the
            4    accountings for and the actual division of the Community (marital) royalties and proceeds.
            5    Mr. Glassberg's signature hereinbelow also acts as his agreement to be bound by the
            6    provisions of paragraphs .3 and 5 hereof. Both parties presently consent to Mr. Glassberg
            7    serving a the paragraph 38 trustee under the Judgment without prejudice to his being replaced
            8    in the future pursuant to the Judgment. Respondent shall pay Arnold Glassberg six hundred
            9    fifty dollars ($650) per month as her share of the total expenses of the trusteeship
           10    commencing February 1, 1997 and continuing during the period of time while Mr. Glassberg

           11    is the Paragraph 38 trustee. The balance of any fee owed to Mr. Glassberg above $650 per
           12    month shall be the sole responsibility of Petitioner.
     e 13                8.        Except .as otherwise provided herein, each of the parties releases the other and
  :LA!
e      14        their respective heirs, assigns, successors in interest, conservators, accountants, attorneys
LS:4 g 15.       and trustees from any and all claims, demands, causes of action, actions, expenses, debts and
   Itr .•••
 2'4,15 16       liabilities arising out of issues set forth in Respondent's order to show cause filed
 • g F.
        ';e 17   November 19, 1996, provided, however, that such release shall not include Respondent's
           18    right to any accounting pursuant to the Judgment or that additional sums are owed as a result

41110      19    of accounting or audit such release includes all known and unknown claims in connection
           20    with this release, including those claims under California Civil Code section 1542, which
           21    provides:.
           22                      A general release does not extend to claims which the creditor
           23                      does not know or suspect to exit in his favor at the time of
           24                      executing the release, which if known by blin must have
           25                      materially affected his settlement with the debtor.
           26             9.       The releases herein shall not preclude Respondent from sharing in any marital

           27    receipts pursuant to audit by Brian Wilson or otherwise if the proceeds are received by Brian
           28    Wilson after February 1, 1997.

                 F:1WPDATMWIL5ON1PLEADING.04                                                        MARRIAGE OF WILSON
                 April?, 1997 (10:322.1-0:1M:dh                    -5-                              LASC Case No. D 983 £05
        Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 115 of 182 Page ID
                                           #:128


          1              10.       Except as specifically modified herein, the terms of the Judgment of March 4,
         2     1989, shall remain in full force and effect.
         3               11.       The Family Law Department of the Los Angeles Superior Court shall retain
         4     jurisdiction over any dispute regarding the provisions of this Stipulation and Order.

         5               12.       This Stipulation and Order shall be binding on the respective parties'heirs,

         6     assigns, successors in interest, conservators and trustees.
          7              13.       Brian Wilson's conservator, Melinda Wilson, shall forthwith apply in the

          8    conservatorship proceedings for approval of this Settlement Agreement.' Without the Probate

          9    Court's approval, this Agreement shall be of no force or effect. If approval is not obtained
               by May 31, 1997, Marilyn Wilson, at her sole discretion, may withdraw from the Settlement
si•
         10
         11    Agreement without liability whatsoever and proceed with her action against Brian Wilson. If
         12    Marilyn Wilson so withdraws this Settlement Agreement shall be of no further force or
         13    effect.
         14    APPROVED AS TO FORM AND CONTENT:
         15
               DATED: April 2471997
         16                                                      BRIAN WILSON,             itioner

         17
               DATED: Apri                , 1997
         18                                                              YN            ,     espondent
11110    19
               DATED: Apri125,-1997
         20                                                              LD GLASSBERG,           rustee

         21
               DATED: April 231997
         22                                                      MELIIiI5A WILSON, Conservator of
                                                                   Brian Wilson
         23    APPROVED AS TO FORM:
         24    DATED: Apri125,1997                               TROPE AND TROPE

         25
         26
                                                                           Vincent K
         .27
                                                                 Attorneys for Petitioner,
         28                                                      BRIAN WILSON

                FAWPDATAIWILSONTLEAD1NG.04                                                                MARRIAGE OF WILSON
                April 7. 1997 (10:32arn)liM5:11s                   -6-                                    LASC Case No. D 98 05
              Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 116 of 182 Page ID
                                                 #:129


                    1     DATED: Aprie, 1997                       MANNIS & PHILLIPS, L.L.P.
                    2
                    3                                              By:
                    4
                    5
                    6
                          DATED: April              , 1997         BARBAKÓW & LERNER
                    7
                    8                                                         411/
                                                                   By:
                    9                                                    Marc Lerner
                   10                                              Attorneys for Respondent
                                                                   MARILYN WILSON
0110               11
                   12     FOR GOOD CAUSE APPEARING, IT IS SO ORDERED.


                                       g,ii ,
              3 13
                                                                                 A. MACK
                   14     DATED:                            1997
     :411                                                          Honorable Kenneth A. Black, Judge of the Los
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                   15                                              Angeles Superior Court
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                          April 7. 1997 (10:32a.m):2M1d15           -7-                            LASC Case No. D 983 605
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                             EXHIBIT B

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                                     #:131
                                          HERSH MANNIS LLP
                                              ATTORNEYS AT LAW                                   NEW YORK
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NEAL RAYMOND HERSH*‡                                                                    NEW YORK, NY 10017
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ADAM PHILIP LIPSIC*                      BEVERLY HILLS, CALIFORNIA 90212-3429
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TERESA Y. LIN
SARAH M. LUETTO                                                                  *C E RT I F I E D S P EC I AL IS T F A MI L Y L A W
SARAH A. THOMPSON                                                                  TH E ST AT E B AR O F CA L IFO R NI A
SUZANNE J. GOULET                                                                 BO AR D O F L EG A L S P EC I A LIZ AT IO N

                                                                                  FE L LO W, AM E RI C AN A C AD E M Y O F
                                                                                         M ATR I MO N I AL LA W Y ER S

OF COUNSEL                                                                       ‡FE L LO W, I NT E RN AT I O N AL AC A DE M Y
CHRISTIAN E. MARKEY III                       November 18, 2021                        O F M ATR I MO N I AL L A W Y ER S




    VIA E-MAIL

    Eric John Custer
    Manatt Phelps Phillips LLP
    11355 W. Olympic Blvd.
    Los Angeles, CA 90064-1614
    ecuster@manatt.com

              Re:         Marilyn Wilson Rutherford

    Dear Eric:

            As I am sure you know, Joseph Mannis has been contacted by John Branca
    regarding a sale of some of Marilyn’s “royalty” rights in the intellectual property awarded
    to her under the Judgment of April 4, 1981. Copies of the pertinent pages of the Judgment
    discussed below are attached for your reference. The undersigned have each on behalf
    of Marilyn spoken to Mr. Branca.

              The Judgment at Paragraph 6 states:

                          6.     IT IS FURTHER ORDERED that the community is the
                          owner of certain copyrights, contract rights and/or royalty
                          rights in the petitioner’s name with respect to musical
                          compositions created during the marriage, and are listed as
                          follows: [170 musical compositions are listed].

          Paragraph 12 then provides that Marilyn may not sell her interest without giving
    Brian Wilson a right of what effectively is a “right of first refusal.”

            Further paragraphs of the Judgment deal with a variety of publishing and other
    companies including Brother Publishing, Brother Records, New Executive Music,
    Wilojarston, Inc., and provide for equal division of the interest in and any distributions
    resulting from such entities. At present, Marilyn does not have any recollection as to the
    rights held by such entities. Please advise as to the status of these entities and whether
    payment was made to Marilyn.




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       Given the proposed sale and dearth of information provided to Marilyn, Marilyn
 requests the following:

        A.      A release of Brian’s right of first refusal should she sell her shares of the
 rights and royalties directly to Universal (whom Mr. Branca advised is the buyer) or to
 other entities.

        B.    Brian’s position as to whether Marilyn could opt out of any sale of music
 rights and keep her share of rights and royalties.

        C.     The approximate amount Brian believes Marilyn will receive from any sale
 of her share with supporting documentation and the multiplication factor.

        D.    The approximate breakdown of total potential sales proceeds between
 Marilyn and Brian and the computation thereof.

        E.    Marilyn has not received anything close to an actual accounting of what is
 due her under the Judgment. We request an accounting for the last five (5) years
 (January 1, 2016 through October 2021) to compare against receipts before we decide
 whether to look at earlier periods. The accounting must include back-up documentation
 from all payment streams including a description of distribution rights and distributions
 made resulting from the musical compositions listed in Paragraph 6 of the Judgment and
 by the aforesaid entities referenced in the Judgment, and a list of all payments, and the
 source thereof, made to Marilyn. This accounting shall further include any advances to
 Brian from BMI and proof that Marilyn’s share was not used to repay any advances in
 which she did not share.

              1.     BMI – Any advances to Brian to be disclosed and documents
 produced reflecting that Marilyn’s share has not been used (if there were advances) to
 repay money for advances she did not share in;

               2.     Neighbouring rights royalties (e.g., Brazil);

               3.     SoundExchange royalties;

               4.     Royalties (writer’s share) from synchronization and other licensing;

               5.     Mechanical royalties (writer’s share); and

               6.     Any other sources of income from the community projects.



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        F.     In separate telephone calls earlier in the year, you indicated to each of the
 undersigned that you do not agree that the broad language set forth at Paragraph 6 of
 the Judgment covers producer’s royalties for the community property musical
 compositions. We disagreed. Request is hereby made that Brian provide an accounting
 and payment to Marilyn of one-half of all producers’ fees earned from February 1, 1997
 to date resulting from the community property musical compositions. We reserve all
 claims for previous time periods.

         In the event your claim is correct that Paragraph 6 does not include producer’s
 royalties, then they would be an undivided community asset. As such, Family Code
 section 2556 requires a court to award and generally equally divide any omitted or
 unadjudicated community royalties, as follows:

               In a proceeding for dissolution of marriage, for nullity of
               marriage, or for legal separation of the parties, the court has
               continuing jurisdiction to award community estate assets or
               community estate liabilities to the parties that have not been
               previously adjudicated by a judgment in the proceeding. A
               party may file a post judgment motion or order to show cause
               in the proceeding in order to obtain adjudication of any
               community estate asset or liability omitted or not adjudicated
               by the judgment. In these cases, the court shall equally divide
               the omitted or unadjudicated community estate asset or
               liability, unless the court finds upon good cause shown that
               the interests of justice require an unequal division of the asset
               or liability.

              In Marriage of Huntley (2017) 10 Cal.App.5th 1053, the court, in applying
 section 2556, stated as follows:
 ,

               [A] dissolution judgment does not affect the disposition of
               community property as to which the judgment is silent. ‘Under
               California law, a spouse’s entitlement to a share of the
               community property arises at the time that the property is
               acquired. [Citations.] That interest is not altered except by
               judicial decree or an agreement between the parties. Hence
               “under settled principles of California community property law,
               ‘property which is not mentioned in the pleadings as
               community property is left unadjudicated by decree of



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              divorce, and is subject to future litigation, the parties being
              tenants in common meanwhile.’” ... [Citations.] This rule
              applies to partial divisions of community property as well as
              divorces unaccompanied by any property adjudication
              whatsoever.

              In providing courts with continuing jurisdiction, section 2556
              imposes no time limit on former spouses to seek to adjudicate
              omitted or unadjudicated community property after a
              dissolution judgment was entered.” …[T]here is no statute of
              limitations imposed by Family Code section 2556 on a former
              spouse who seeks adjudication of omitted or unadjudicated
              community property.

 Id. at 1059-1060 (emphasis added).

        G.     Reversion rights: Brian should well be on his way to obtaining back his
 copyrights. We understand that Mike Love has already obtained reversions to at least
 some of the separate property songs co-created with Brian. We are sure Brian would not
 be ignoring these valuable rights. Please advise forthwith regarding the status for the
 community songs and/or the plan for the reversions.

                                         Very truly yours,

                                         HERSH MANNIS LLP


                                         Joseph Mannis
                                         Of The Firm


                                         KLEINBERG LANGE CUDDY & CARLO LLP


                                         Candace Carlo
                                         Of the Firm
 JM:cp




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                             EXHIBIT C

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                                 Tuesday,
                                    #:136November 30, 2021 at 15:57:16 Paciﬁc Standard Time

Subject: RE: Marilyn Wilson Rutherford/Brian Wilson
Date: Monday, November 29, 2021 at 3:42:26 PM Paciﬁc Standard Time
From: Custer, Eric
To:       Cindy Payton, Candace Carlo, Joseph Mannis
CC:       James M. Simon, John Branca
Priority: High

Joe and Candace, this is in response to your joint leOer to me dated November 18, 2021. Some of the items
raised therein may require further research and a more detailed response. However, in view of Smelines on the
proposed UMPG transacSon, we did want to provide an iniSal response based on the informaSon we had
available. We would suggest a call tomorrow or the day aVer (the two of you, me and John Branca) once you
have had a chance to digest this response. As a formality, this is a conﬁdenSal seOlement communicaSon
pursuant to California Evidence Code § 1152, Federal Rule of Evidence 408 and similar laws to that eﬀect.
Writer Share Sale:
With respect to items A and B from your leOer, to the extent we have brought you the opportunity to
parScipate in the sale to UMPG of the UMPG/BMI writer royalty interests, we would of course waive that right
of ﬁrst refusal to enable such sale to be completed. While the intent is to sell the enSre interest (including
Marilyn’s share) to UMPG, and though Brian has the power to do so pursuant to the terms of the Judgment, if
your client is simply strongly philosophically opposed to the concept of her interest being sold, then provided all
other issues between our clients are resolved, we are willing to consider excluding her interest from the sale
(and using our current leverage to secure a contractual commitment from UMPG to directly account to Marilyn
for her share of royalSes going forward).
However, on that front I would cauSon that a strong desire not to sell is indeed the reason. We are aware that
Marilyn was approached last year by a prospecSve buyer, but bear in mind that dollar amounts tossed around
in that context are meaningless since it will always come down to a mulSple applied to the veriﬁable historical
earnings. Also, our sense was that the prospecSve buyer was Primary Wave, and note that UMPG is actually
joining forces with Primary Wave to co-fund this acquisiSon, so it’s not really the case that Primary Wave would
be a likely separate possible independent buyer here. We are conﬁdent that the market right now is not going to
yield a beOer oﬀer than what we have from UMPG (we know that from direct compeSSve oﬀers from other
buyers who pay top mulSples, which, to our surprise, UMPG matched and then exceeded to take this one oﬀ
the table).
If your client truly does not want to sell, we understand that. But if there is some noSon that she is going to
turn around and do her own sale now or in the near future, there are some complicaSng factors you need to be
aware of that make it near impossible to sell to anyone other than UMPG, irrespecSve of whether Brian waives
his last refusal right. As part of this process, we pulled the original underlying songwriter agreements through
which UMPG has chain of Stle (the agreements from the 1960s between Brian and Sea of Tunes, which were
later assigned to Rondor, which was acquired by UMPG). We discovered that those agreements have express
language prohibiSng Brian from assigning his rights to a third party without UMPG’s consent (which would
impact Marilyn in the same fashion). As such, when presented with these underlying agreements in diligence,
preOy much any third party buyer would require that you deliver a consent to assignment executed by UMPG.
UMPG is well aware of these anS-assignment prohibiSons and no such consent will be forthcoming from them.
Further, UMPG would have an argument that any such aOempted assignment to a third party would be
interference with their agreements and they could simply ignore payment leOers of direcSon, which is likely to
scare most buyers away (and I don’t foresee Primary Wave being willing to proceed on a separate Marilyn only
sale in the face of all of the above).
With respect to items C and D, the process is simple and does not require that you rely on us to come up with
some discreSonary amount. Indeed, the community assets that would be sold are (i) the contractual songwriter
royalSes that UMPG pays under the original Sea Of Tunes agreements covering the community composiSons
and (ii) the BMI writer royalSes that are payable on those same community songs. In addiSon, there are some

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separate property songs that are also owned by UMPG pursuant to similar Sea of Tunes agreements (basically
those before 1965), which Brian is selling as well, and Marilyn would not share in.
As such, the allocaSon is simple. The oﬀer is a 30X mulSple (unheard of for a passive royalty interest like this) on
the UMPG and BMI writer royalSes payable in respect of the Sea Of Tunes songs and the ulSmate price will be
that mulSple applied to the veriﬁed annual average earnings in respect of same. We have per song data culled
from source statements (which UMPG is verifying to conﬁrm the ﬁnal valuaSon) that will show the average
earnings of each such song. To determine the allocaSon, we simply apply the 30X mulSple to the annual
average earnings on the community songs, which amount would be paid 50% to Brian and 50% to Marilyn (and
then the 30X mulSple is also applied to the annual average earnings on the separate property songs, which goes
to Brian 100%). These are the objecSve ﬁgures on which the UMPG oﬀer is based, not discreSonary ﬁgures that
we made up. We will provide the per song earnings data and the underlying UMPG and BMI source statements
from which they are derived so that you can verify these ﬁgures as well.
Based on past accounSngs rendered to Marilyn, we anScipate that Marilyn’s total share would be approximately
between 30% and 35% of the overall purchase price aOributable to the sale of the songwriter royalSes (this is
less than 50% because a number of major songs were before the marriage and thus separate property as
reﬂected on the Judgement, and in which Marilyn does not share). Based on the earnings history and the 30X
mulSple, the expected purchase price for the songwriter royalSes is $35,200,000. Assuming that UMPG veriﬁes
such earnings history, that the per song earnings track our rough 30% to 35% Marilyn historical projecSon, and
the deducSon of the 5% oﬀ the top, Marilyn would be looking at receiving between $10MM to $11.7MM in
respect of her share of the purchase price for just these assets.
Other Issues:
While items E through G may warrant further research and a more detailed response, we did want to quickly
respond to a number of these items based on the informaSon available to us.
First, we have rendered accounSngs in the same format for well over a decade (usually on a monthly basis). As
a general maOer, historically we have not provided underlying UMPG and BMI statements since (i) they include
conﬁdenSal informaSon as to non-community songs and (ii) given modern per track accounSng, those are
voluminous (hundreds and in some cases thousands of pages) and not parScularly decipherable for someone
other than an experienced music business accountant. That said, from Sme to Sme Marilyn has requested
further detail, and my understanding is that we have provided same when asked (and further that Marilyn
actually conducted an audit a few years ago). As noted above, given the impending sale, we are ﬁne now
providing access to the same UMPG and BMI statements UMPG is basing their oﬀer on so you can be assured
of the earnings that support the purchase price.
Second, as we have previously advised, though Brian did take advances from BMI from Sme to Sme, those had
no impact on Marilyn. She has been paid her ongoing share of BMI royalSes as accrued on statements
irrespecSve of Brian’s BMI recoupment status. We can provide whatever you need to verify that’s the case, but
the basic proof is that the statements issued to Marilyn have always included BMI earnings without
interrupSon, which would not have been the case had she been standing behind Brian advances.
Third, certain items under item E (Neighbouring rights and SoundExchange) are not interests/monies derived
from “musical composiSons” (in which Marilyn shares), but rather derive from performances on “sound
recordings”. This same issue is also raised more broadly in item F. However, the Judgment is clear that Marilyn
does not share in monies Brian receives in respect of Beach Boys recordings (i.e., producer royalSes are not
monies derived from musical composiSons). For example, subparagraph 4(D) of the Judgment indicates that
Brian was awarded as his separate property “all of the community’s right, Stle and interest in Brother Records,
Inc.” (the source of the Beach Boys sound recording income in which Brian shares, including any producer
royalSes, which the parSes clearly understood based on other provisions of the Judgment). Similarly,
subparagraph 4(E) of the Judgment indicates that Brian was awarded as his separate property “any interest in
the musical group ‘The Beach Boys”.
That is in contrast to certain minor Beach Boys related music publishing enSSes (Brother Publishing and
Wilojarston, which owned lesser catalogs of musical composiSons), where the Judgment provided Marilyn
would be enStled to an ongoing 50% interest. The parSes clearly understood how to express a shared interest in
an enSty and the monies it generated, and did not do so with respect to Brother Records, Inc.

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Indeed, it seems preOy clear there was some horse trading going on where Brian got as his separate property
certain community items and Marilyn got as her separate property certain other community items, and your
citaSon to case law and general principles of community property law ignores the express language of the
Judgement.
Nor can it be said that the draVers of the Judgment simply missed or forgot to deal with the issue of sound
recording royalSes (as opposed to musical composiSon royalSes). In fact, language tacked on to the end of the
Judgment underscores that the parSes clearly understood Brother Records, Inc. was the source of sound
recording royalSes, which was awarded to Brian alone.
Paragraph 59 of the Judgment indicates that in connecSon with an “audit of Warner Brothers Records . . . being
conducted by Brother Records, Inc., with regard to record royalSes for the period January 1, 1976 through
December 31, 1978, the value of the community’s interest in the stock of Brother Records, Inc. will be revalued
at the Sme Brother Records liquidates its’ claim against Warner Brothers Records, so that said value of Brother
Records, Inc. will be deemed to increase in the sum of twenty (20%) percent of any amount in excess of THREE
HUNDRED THOUSAND ($300,000.00) DOLLARS received by Brother, net of audit costs, including legal fees and
accounSng expenses.”
Paragraph 60 then goes on to provide that “said increase in the value of the stock of Brother Records, Inc., if
any, shall be, divided, equally, one-half (1/2) to [Brian] and one-half (1/2) to [Marilyn] by oﬀset in distribuSon
from the 38 Trust Account.” And paragraph 61 further provided that “the payments made pursuant to
[paragraph 60] to [Marilyn] by [Brian], will not be taxable to [Brian].”
Paragraph 62 is the coda on this issue, expressly providing that “[Marilyn] shall have no other rights in any other
records or other audit conducted by Brother Records, Inc., nor in any other asset of Brother Records, Inc., or in
the name or group known as “The Beach Boys”, except as otherwise provided in this Judgment.”
It is clear the parSes understood Brother Records, Inc. was the source of sound recording royalSes and awarded
all such interests to Brian as his separate property with no further obligaSon to Marilyn in respect of same, save
only for a one Sme obligaSon to make a further cash payment to Marilyn in the event the referenced audit of
Warner Brothers Records (for the period 1976 through 1978, i.e., royalSes earned during the marriage), was
seOled by Brother Records for more than $300,000. Any such audit seOlement would have happened no later
than a year or so aVer the Judgment and the parSes presumably addressed that maOer no later than 1983. The
boOom line is that these express provisions make clear Marilyn has no interest in sound recording royalSes.
On top of that, we know that since at least the 1990s (when accounSngs were handled by Arnie Glassberg,
later taken over by LeeAnn Hard in the 2000s), no monies were ever accounted to Marilyn in respect of sound
recordings earnings, which we understood followed prior accounSng pracSce from incepSon of the Judgment
(i.e., that Marilyn never shared in such non-publishing earnings as per the express terms of the Judgement).
And in the forty years that the Judgment has been in eﬀect, audits have been conducted by Marilyn and in
1997 Marilyn even iniSated a dispute proceeding in the family court (involving costs and possible proceeds
from third party liSgaSon relaSng to the community composiSons), and yet this issue was never raised, further
supporSng that the Judgment and clear intent of the parSes was that she had no interest in same.
Finally, with respect to item F, Brian has indeed served terminaSon noSces on the Sea Of Tunes/UMPG songs as
they have become eligible. As you may know, the earliest possible terminaSon dates under SecSon 304(c) of
the Copyright Act run 56 years from the date of the copyright. As such, unSl this year, only songs from 1964
and before (separate property songs) had technically reverted, and then over the course of this past year
reversions on songs from 1965 would have become eﬀecSve (all of which we had leV open pending what we
decided to do with UMPG). Of course, terminaSons only recover rights in the United States and essenSally
enabled Brian to claim from UMPG going forward the other 50% of US earnings that UMPG was retaining the
past 60 years, which Brian did not own previously.
In the spirit of transparency, in addiSon to the sale of the writer royalSes described above, Brian is considering
the sale to UMPG of these reversion interests for a separate purchase price (note that the mulSple on the sale
of writer royalSes is actually higher). Inasmuch as these addiSonal rights were not owned by Brian during the
marriage (from incepSon they were owned by UMPG or their predecessors) and were only acquired by Brian
under federal copyright law by virtue of his surviving to the eﬀecSve dates over the past few years (i.e., had he
not, those interests would have been owned directly, under copyright law, by Brian’s wife and children), Marilyn

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has no interest in and is not enStled to a share of any purchase price for such interests.
While there has been some liSgaSon in the past between authors and their ex-spouses (e.g., a case in Los
Angeles in recent years between Smokey Robinson and his ex-wife to the eﬀect that copyright terminaSons can
even operate to cut oﬀ the prior songwriter royalty interest), provided we can resolve all other issues between
our clients, it is not our current intent to take that posiSon. Rather, we view the appropriate resoluSon as
Marilyn sharing in the purchase price payable for the share of songwriter royalSes that she has historically
received, but that she not share in any purchase price for these terminaSon/reversionary interests that did not
exist during the marriage, were never owned by the community, and which only became a vested property right
of Brian under the United States Copyright Act in the last few years (decades aVer the marriage ended).
Of course, feel free to contact me if you have any quesSons (and again, we suggest a call tomorrow or the day
aVer to go over any quesSons). In the meanSme, as a formality, this is not intended as a complete recitaSon of
all facts or legal theories pertaining to this maOer, or of a waiver of any rights or remedies in connecSon
therewith, all of which are speciﬁcally reserved.
Best regards,
Eric
Eric Custer
Partner
__________________________

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reading them or saving them to disk. Thank you.

From: Cindy Payton <CPayton@HershMannis.com>
Sent: Friday, November 19, 2021 2:45 PM
To: Custer, Eric <ecuster@manaO.com>
Cc: Candace Carlo <ccarlo@kleinberglange.com>; James M. Simon <JSimon@HershMannis.com>; Joseph
Mannis <JMannis@HershMannis.com>
Subject: Marilyn Wilson Rutherford
Dear Mr. Custer,
AOached for your aOenSon please see Candace Carlo’s and Joseph Mannis’ joint leOer dated November 18,
2021.
Cordially,
Cindy Payton
Legal Assistant to Joseph Mannis
Hersh Mannis, LLP
9150 Wilshire Blvd., Suite 209
Beverly Hills, CA 90212
Phone: (310) 786-1910
Fax: (310) 786-1917
cpayton@hershmannis.com

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                             EXHIBIT D

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                                 Tuesday,
                                    #:142November 30, 2021 at 15:58:07 Paciﬁc Standard Time

Subject:    Marilyn Wilson Rutherford
Date:       Tuesday, November 30, 2021 at 12:13:40 PM Paciﬁc Standard Time
From:       Joseph Mannis
To:         Custer, Eric
CC:         Candace Carlo
AFachments: image001.jpg, formprotecJveorder1conﬁdenJal_1(1377933.1).pdf

Dear Eric,

In addiJon to my leRer of November 18 emailed to you, I am now informed that Brother Records was sold
some Jme in the recent past. Per the Judgment, that company was Brian’s separate property. However, Brother
Publishing was and is community property belonging ½ to each party. Please advise whether or not any porJon
of Brother Publishing or any of its assets were part of the sale of Brother Records.

Candace has advised that she believes that various publishing rights may have also been sold. Please provide a
copy of the sales agreement itself so that we can make our own determinaJon of whether Marilyn’s rights were
aﬀected by the sale. If you are concerned about conﬁdenJality, we are willing to sign the Court’s form
protecJve agreement. I have aRached same, from the Court website, for your review. Thank you in advance.

This email was prepared prior to receiving your email of yesterday a[ernoon, which I will respond to in the near
future.

Very truly yours,
JOSEPH MANNIS
Founding Partner


HERSH MANNIS LLP
9150 Wilshire Blvd., Suite 209
Beverly Hills, CA 90212
Phone: 310-786-1910
Fax: 310-786-1917
jmannis@hershmannis.com

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Rules governing our practice before the Internal Revenue Service require that we advise you that any tax
advice in this communication (and any attachments) (i) is intended only for the addressee and (ii) is not
written with the intent that it be used, and in fact it cannot be used, to avoid penalties imposed under the
Internal Revenue Code or to promote, market, or recommend to another person any tax-related idea.




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building a more resilient world. To find out more, visit our website.




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   1 Where the Parties wish to have a confidentiality stipulation and protective order the parties in all
     civil cases, other than products liability cases, are encouraged to use this Stipulated Confidentiality
   2 Order Form as an initial working draft to save time.

   3 Where this Stipulated Confidentiality Order Form is used, then any proposed stipulated
     confidentiality order submitted to the Court MUST be accompanied by a “redlined’ or “compare”
   4 version of this Form, so that the Court may readily see ALL MODIFICATIONS that were made to
     this Form. This procedure is intended to save you and the Court time, and promote faster processing
   5 of these proposed orders.

   6   This model form confidentiality stipulation and protective order (the “Stipulated Confidentiality
       Order Form”) does not address, and may not be used in, products liability cases.
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  12                                 SUPERIOR COURT OF CALIFORNIA

  13                                      COUNTY OF LOS ANGELES

  14

  15
       Plaintiffs,                                           Case No.
  16
       vs.                                                   LOS ANGELES MODEL
  17
       Defendants.                                           STIPULATION AND PROTECTIVE
  18                                                         ORDER – CONFIDENTIAL
                                                             DESIGNATION ONLY
  19

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  23           IT IS HEREBY STIPULATED by and between the Parties to Plaintiffs v. Defendants, (list

  24   names of Plaintiffs and Defendants), by and through their respective counsel of record, that in order

  25   to facilitate the exchange of information and documents which may be subject to confidentiality

  26   limitations on disclosure due to federal laws, state laws, and privacy rights, the Parties stipulate as

  27   follows:

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   1          1.      In this Stipulation and Protective Order, the words set forth below shall have the
   2   following meanings:
   3                  a.     “Proceeding” means the above-entitled proceeding (specify case number).
   4                  b.     “Court” means the Hon. (list name of judge), or any other judge to which this
   5   Proceeding may be assigned, including Court staff participating in such proceedings.
   6                  c.      “Confidential” means any information which is in the possession of a
   7   Designating Party who believes in good faith that such information is entitled to confidential
   8   treatment under applicable law.
   9                  d.     “Confidential Materials” means any Documents, Testimony or Information as
  10   defined below designated as “Confidential” pursuant to the provisions of this Stipulation and
  11   Protective Order.
  12                  e.     “Designating Party” means the Party that designates Materials as
  13   “Confidential.”
  14                  f.     “Disclose” or “Disclosed” or “Disclosure” means to reveal, divulge, give, or
  15   make available Materials, or any part thereof, or any information contained therein.
  16                  g.     “Documents” means (i) any “Writing,” “Original,” and “Duplicate” as those
  17   terms are defined by California Evidence Code Sections 250, 255, and 260, which have been
  18   produced in discovery in this Proceeding by any person, and (ii) any copies, reproductions, or
  19   summaries of all or any part of the foregoing.
  20                  h.     “Information” means the content of Documents or Testimony.
  21                  i.     “Testimony” means all depositions, declarations or other testimony taken or
  22   used in this Proceeding.
  23          2.      The Designating Party shall have the right to designate as “Confidential” any
  24   Documents, Testimony or Information that the Designating Party in good faith believes to contain
  25   non-public information that is entitled to confidential treatment under applicable law.
  26          3.      The entry of this Stipulation and Protective Order does not alter, waive, modify, or
  27   abridge any right, privilege or protection otherwise available to any Party with respect to the
  28   discovery of matters, including but not limited to any Party’s right to assert the attorney-client

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   1   privilege, the attorney work product doctrine, or other privileges, or any Party’s right to contest any
   2   such assertion.
   3          4.         Any Documents, Testimony or Information to be designated as “Confidential” must
   4   be clearly so designated before the Document, Testimony or Information is Disclosed or produced.
   5   The parties may agree that the case name and number are to be part of the “Confidential”
   6   designation. The ”Confidential” designation should not obscure or interfere with the legibility of
   7   the designated Information.
   8                     a.     For Documents (apart from transcripts of depositions or other pretrial or trial
   9   proceedings), the Designating Party must affix the legend “Confidential” on each page of any
  10   Document containing such designated Confidential Material.
  11                     b.     For Testimony given in depositions the Designating Party may either:
  12                            i.      identify on the record, before the close of the deposition, all
  13                     “Confidential” Testimony, by specifying all portions of the Testimony that qualify as
  14                     “Confidential;” or
  15                            ii.     designate the entirety of the Testimony at the deposition as
  16                     “Confidential” (before the deposition is concluded) with the right to identify more
  17                     specific portions of the Testimony as to which protection is sought within 30 days
  18                     following receipt of the deposition transcript. In circumstances where portions of the
  19                     deposition Testimony are designated for protection, the transcript pages containing
  20                     “Confidential” Information may be separately bound by the court reporter, who must
  21                     affix to the top of each page the legend “Confidential,” as instructed by the
  22                     Designating Party.
  23                     c.     For Information produced in some form other than Documents, and for any
  24   other tangible items, including, without limitation, compact discs or DVDs, the Designating Party
  25   must affix in a prominent place on the exterior of the container or containers in which the
  26   Information or item is stored the legend “Confidential.” If only portions of the Information or item
  27   warrant protection, the Designating Party, to the extent practicable, shall identify the “Confidential”
  28   portions.

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   1          5.      The inadvertent production by any of the undersigned Parties or non-Parties to the
   2   Proceedings of any Document, Testimony or Information during discovery in this Proceeding
   3   without a “Confidential” designation, shall be without prejudice to any claim that such item is
   4   “Confidential” and such Party shall not be held to have waived any rights by such inadvertent
   5   production.   In the event that any Document, Testimony or Information that is subject to a
   6   “Confidential” designation is inadvertently produced without such designation, the Party that
   7   inadvertently produced the document shall give written notice of such inadvertent production within
   8   twenty (20) days of discovery of the inadvertent production, together with a further copy of the
   9   subject Document, Testimony or Information designated as “Confidential” (the “Inadvertent
  10   Production Notice”). Upon receipt of such Inadvertent Production Notice, the Party that received
  11   the inadvertently produced Document, Testimony or Information shall promptly destroy the
  12   inadvertently produced Document, Testimony or Information and all copies thereof, or, at the
  13   expense of the producing Party, return such together with all copies of such Document, Testimony
  14   or Information to counsel for the producing Party and shall retain only the “Confidential” designated
  15   Materials. Should the receiving Party choose to destroy such inadvertently produced Document,
  16   Testimony or Information, the receiving Party shall notify the producing Party in writing of such
  17   destruction within ten (10) days of receipt of written notice of the inadvertent production. This
  18   provision is not intended to apply to any inadvertent production of any Information protected by
  19   attorney-client or work product privileges. In the event that this provision conflicts with any
  20   applicable law regarding waiver of confidentiality through the inadvertent production of Documents,
  21   Testimony or Information, such law shall govern.
  22          6.      In the event that counsel for a Party receiving Documents, Testimony or Information
  23   in discovery designated as “Confidential” objects to such designation with respect to any or all of
  24   such items, said counsel shall advise counsel for the Designating Party, in writing, of such
  25   objections, the specific Documents, Testimony or Information to which each objection pertains, and
  26   the specific reasons and support for such objections (the “Designation Objections”). Counsel for the
  27   Designating Party shall have thirty (30) days from receipt of the written Designation Objections to
  28   either (a) agree in writing to de-designate Documents, Testimony or Information pursuant to any or

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   1   all of the Designation Objections and/or (b) file a motion with the Court seeking to uphold any or all
   2   designations on Documents, Testimony or Information addressed by the Designation Objections
   3   (the “Designation Motion”). Pending a resolution of the Designation Motion by the Court, any and
   4   all existing designations on the Documents, Testimony or Information at issue in such Motion shall
   5   remain in place. The Designating Party shall have the burden on any Designation Motion of
   6   establishing the applicability of its “Confidential” designation. In the event that the Designation
   7   Objections are neither timely agreed to nor timely addressed in the Designation Motion, then such
   8   Documents, Testimony or Information shall be de-designated in accordance with the Designation
   9   Objection applicable to such material.
  10          7.      Access to and/or Disclosure of Confidential Materials designated as “Confidential”
  11   shall be permitted only to the following persons:
  12                  a.     the Court;
  13                  b.     (1) Attorneys of record in the Proceedings and their affiliated attorneys,
  14   paralegals, clerical and secretarial staff employed by such attorneys who are actively involved in the
  15   Proceedings and are not employees of any Party. (2) In-house counsel to the undersigned Parties
  16   and the paralegal, clerical and secretarial staff employed by such counsel. Provided, however, that
  17   each non-lawyer given access to Confidential Materials shall be advised that such Materials are
  18   being Disclosed pursuant to, and are subject to, the terms of this Stipulation and Protective Order
  19   and that they may not be Disclosed other than pursuant to its terms;
  20                  c.     those officers, directors, partners, members, employees and agents of all non-
  21   designating Parties that counsel for such Parties deems necessary to aid counsel in the prosecution
  22   and defense of this Proceeding; provided, however, that prior to the Disclosure of Confidential
  23   Materials to any such officer, director, partner, member, employee or agent, counsel for the Party
  24   making the Disclosure shall deliver a copy of this Stipulation and Protective Order to such person,
  25   shall explain that such person is bound to follow the terms of such Order, and shall secure the
  26   signature of such person on a statement in the form attached hereto as Exhibit A;
  27                  d.     court reporters in this Proceeding (whether at depositions, hearings, or any
  28   other proceeding);

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   1                  e.     any deposition, trial or hearing witness in the Proceeding who previously has
   2   had access to the Confidential Materials, or who is currently or was previously an officer, director,
   3   partner, member, employee or agent of an entity that has had access to the Confidential Materials;
   4                  f.     any deposition or non-trial hearing witness in the Proceeding who previously
   5   did not have access to the Confidential Materials; provided, however, that each such witness given
   6   access to Confidential Materials shall be advised that such Materials are being Disclosed pursuant
   7   to, and are subject to, the terms of this Stipulation and Protective Order and that they may not be
   8   Disclosed other than pursuant to its terms;
   9                  g.     mock jury participants, provided, however, that prior to the Disclosure of
  10   Confidential Materials to any such mock jury participant, counsel for the Party making the
  11   Disclosure shall deliver a copy of this Stipulation and Protective Order to such person, shall explain
  12   that such person is bound to follow the terms of such Order, and shall secure the signature of such
  13   person on a statement in the form attached hereto as Exhibit A.
  14                  h.     outside experts or expert consultants consulted by the undersigned Parties or
  15   their counsel in connection with the Proceeding, whether or not retained to testify at any oral
  16   hearing; provided, however, that prior to the Disclosure of Confidential Materials to any such expert
  17   or expert consultant, counsel for the Party making the Disclosure shall deliver a copy of this
  18   Stipulation and Protective Order to such person, shall explain its terms to such person, and shall
  19   secure the signature of such person on a statement in the form attached hereto as Exhibit A. It shall
  20   be the obligation of counsel, upon learning of any breach or threatened breach of this Stipulation
  21   and Protective Order by any such expert or expert consultant, to promptly notify counsel for the
  22   Designating Party of such breach or threatened breach; and
  23                  i.     any other person that the Designating Party agrees to in writing.
  24          8.      Confidential Materials shall be used by the persons receiving them only for the
  25   purposes of preparing for, conducting, participating in the conduct of, and/or prosecuting and/or
  26   defending the Proceeding, and not for any business or other purpose whatsoever.
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   1          9.      Any Party to the Proceeding (or other person subject to the terms of this Stipulation
   2   and Protective Order) may ask the Court, after appropriate notice to the other Parties to the
   3   Proceeding, to modify or grant relief from any provision of this Stipulation and Protective Order.
   4          10.     Entering into, agreeing to, and/or complying with the terms of this Stipulation and
   5   Protective Order shall not:
   6                  a.     operate as an admission by any person that any particular Document,
   7   Testimony or Information marked “Confidential” contains or reflects trade secrets, proprietary,
   8   confidential or competitively sensitive business, commercial, financial or personal information; or
   9                  b.     prejudice in any way the right of any Party (or any other person subject to the
  10   terms of this Stipulation and Protective Order):
  11                         i.      to seek a determination by the Court of whether any particular
  12                  Confidential Material should be subject to protection as “Confidential” under the
  13                  terms of this Stipulation and Protective Order; or
  14                         ii.     to seek relief from the Court on appropriate notice to all other Parties
  15                  to the Proceeding from any provision(s) of this Stipulation and Protective Order,
  16                  either generally or as to any particular Document, Material or Information.
  17          11.     Any Party to the Proceeding who has not executed this Stipulation and Protective
  18   Order as of the time it is presented to the Court for signature may thereafter become a Party to this
  19   Stipulation and Protective Order by its counsel’s signing and dating a copy thereof and filing the
  20   same with the Court, and serving copies of such signed and dated copy upon the other Parties to this
  21   Stipulation and Protective Order.
  22          12.     Any Information that may be produced by a non-Party witness in discovery in the
  23   Proceeding pursuant to subpoena or otherwise may be designated by such non-Party as
  24   “Confidential” under the terms of this Stipulation and Protective Order, and any such designation by
  25   a non-Party shall have the same force and effect, and create the same duties and obligations, as if
  26   made by one of the undersigned Parties hereto. Any such designation shall also function as a
  27   consent by such producing Party to the authority of the Court in the Proceeding to resolve and
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   1   conclusively determine any motion or other application made by any person or Party with respect to
   2   such designation, or any other matter otherwise arising under this Stipulation and Protective Order.
   3          13.     If any person subject to this Stipulation and Protective Order who has custody of any
   4   Confidential Materials receives a subpoena or other process (“Subpoena”) from any government or
   5   other person or entity demanding production of Confidential Materials, the recipient of the
   6   Subpoena shall promptly give notice of the same by electronic mail transmission, followed by either
   7   express mail or overnight delivery to counsel of record for the Designating Party, and shall furnish
   8   such counsel with a copy of the Subpoena. Upon receipt of this notice, the Designating Party may,
   9   in its sole discretion and at its own cost, move to quash or limit the Subpoena, otherwise oppose
  10   production of the Confidential Materials, and/or seek to obtain confidential treatment of such
  11   Confidential Materials from the subpoenaing person or entity to the fullest extent available under
  12   law. The recipient of the Subpoena may not produce any Documents, Testimony or Information
  13   pursuant to the Subpoena prior to the date specified for production on the Subpoena.
  14          14.     Nothing in this Stipulation and Protective Order shall be construed to preclude either
  15   Party from asserting in good faith that certain Confidential Materials require additional protection.
  16   The Parties shall meet and confer to agree upon the terms of such additional protection.
  17          15.     If, after execution of this Stipulation and Protective Order, any Confidential
  18   Materials submitted by a Designating Party under the terms of this Stipulation and Protective Order
  19   is Disclosed by a non-Designating Party to any person other than in the manner authorized by this
  20   Stipulation and Protective Order, the non-Designating Party responsible for the Disclosure shall
  21   bring all pertinent facts relating to the Disclosure of such Confidential Materials to the immediate
  22   attention of the Designating Party.
  23          16.     This Stipulation and Protective Order is entered into without prejudice to the right of
  24   any Party to knowingly waive the applicability of this Stipulation and Protective Order to any
  25   Confidential Materials designated by that Party.       If the Designating Party uses Confidential
  26   Materials in a non-Confidential manner, then the Designating Party shall advise that the designation
  27   no longer applies.
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   1          17.     Where any Confidential Materials, or Information derived from Confidential
   2   Materials, is included in any motion or other proceeding governed by California Rules of Court,
   3   Rules 2.550 and 2.551, the party shall follow those rules. With respect to discovery motions or
   4   other proceedings not governed by California Rules of Court, Rules 2.550 and 2.551, the following
   5   shall apply: If Confidential Materials or Information derived from Confidential Materials are
   6   submitted to or otherwise disclosed to the Court in connection with discovery motions and
   7   proceedings, the same shall be separately filed under seal with the clerk of the Court in an envelope
   8   marked: “CONFIDENTIAL – FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER
   9   AND WITHOUT ANY FURTHER SEALING ORDER REQUIRED.”
  10          18.     The Parties shall meet and confer regarding the procedures for use of Confidential
  11   Materials at trial and shall move the Court for entry of an appropriate order.
  12          19.     Nothing in this Stipulation and Protective Order shall affect the admissibility into
  13   evidence of Confidential Materials, or abridge the rights of any person to seek judicial review or to
  14   pursue other appropriate judicial action with respect to any ruling made by the Court concerning the
  15   issue of the status of Protected Material.
  16          20.     This Stipulation and Protective Order shall continue to be binding after the
  17   conclusion of this Proceeding and all subsequent proceedings arising from this Proceeding, except
  18   that a Party may seek the written permission of the Designating Party or may move the Court for
  19   relief from the provisions of this Stipulation and Protective Order. To the extent permitted by law,
  20   the Court shall retain jurisdiction to enforce, modify, or reconsider this Stipulation and Protective
  21   Order, even after the Proceeding is terminated.
  22          21.     Upon written request made within thirty (30) days after the settlement or other
  23   termination of the Proceeding, the undersigned Parties shall have thirty (30) days to either (a)
  24   promptly return to counsel for each Designating Party all Confidential Materials and all copies
  25   thereof (except that counsel for each Party may maintain in its files, in continuing compliance with
  26   the terms of this Stipulation and Protective Order, all work product, and one copy of each pleading
  27   filed with the Court [and one copy of each deposition together with the exhibits marked at the
  28   deposition)]*, (b) agree with counsel for the Designating Party upon appropriate methods and

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   1   certification of destruction or other disposition of such Confidential Materials, or (c) as to any
   2   Documents, Testimony or other Information not addressed by sub-paragraphs (a) and (b), file a
   3   motion seeking a Court order regarding proper preservation of such Materials. To the extent
   4   permitted by law the Court shall retain continuing jurisdiction to review and rule upon the motion
   5   referred to in sub-paragraph (c) herein. *[The bracketed portion of this provision shall be subject to
   6   agreement between counsel for the Parties in each case.]
   7            22.    After this Stipulation and Protective Order has been signed by counsel for all Parties,
   8   it shall be presented to the Court for entry. Counsel agree to be bound by the terms set forth herein
   9   with regard to any Confidential Materials that have been produced before the Court signs this
  10   Stipulation and Protective Order.
  11            23.    The Parties and all signatories to the Certification attached hereto as Exhibit A agree
  12   to be bound by this Stipulation and Protective Order pending its approval and entry by the Court. In
  13   the event that the Court modifies this Stipulation and Protective Order, or in the event that the Court
  14   enters a different Protective Order, the Parties agree to be bound by this Stipulation and Protective
  15   Order until such time as the Court may enter such a different Order. It is the Parties’ intent to be
  16   bound by the terms of this Stipulation and Protective Order pending its entry so as to allow for
  17   immediate production of Confidential Materials under the terms herein.
  18            This Stipulation and Protective Order may be executed in counterparts.
  19
       Dated:
  20
                                             By:____________________________________________
  21                                               Attorneys for Plaintiffs
  22   Dated:
                                             By:____________________________________________
  23                                               Attorneys for Defendants
  24

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   1                                            ORDER
   2            GOOD CAUSE APPEARING, the Court hereby approves this Stipulation and Protective
   3   Order.
   4            IT IS SO ORDERED.
   5

   6   Dated:
                                                        THE HONORABLE _______________
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   1                                                EXHIBIT A
   2                         CERTIFICATION RE CONFIDENTIAL DISCOVERY MATERIALS
   3           I    hereby    acknowledge    that   I,    ___________________________________[NAME],
   4   ______________________________________________ [POSITION AND EMPLOYER], am
   5   about to receive Confidential Materials supplied in connection with the Proceeding, (INSERT
   6   CASE NO.). I certify that I understand that the Confidential Materials are provided to me subject to
   7   the terms and restrictions of the Stipulation and Protective Order filed in this Proceeding. I have
   8   been given a copy of the Stipulation and Protective Order; I have read it, and I agree to be bound by
   9   its terms.
  10           I understand that Confidential Materials, as defined in the Stipulation and Protective Order,
  11   including any notes or other records that may be made regarding any such materials, shall not be
  12   Disclosed to anyone except as expressly permitted by the Stipulation and Protective Order. I will
  13   not copy or use, except solely for the purposes of this Proceeding, any Confidential Materials
  14   obtained pursuant to this Protective Order, except as provided therein or otherwise ordered by the
  15   Court in the Proceeding.
  16           I further understand that I am to retain all copies of all Confidential Materials provided to me
  17   in the Proceeding in a secure manner, and that all copies of such Materials are to remain in my
  18   personal custody until termination of my participation in this Proceeding, whereupon the copies of
  19   such Materials will be returned to counsel who provided me with such Materials.
  20           I declare under penalty of perjury, under the laws of the State of California, that the
  21   foregoing is true and correct. Executed this _____ day of ______, 20__, at __________________.
  22   DATED:_________________________                   BY:    _________________________________
                                                                Signature
  23                                                            _________________________________
                                                                Title
  24                                                            _________________________________
                                                                Address
  25                                                            _________________________________
                                                                City, State, Zip
  26                                                            _________________________________
                                                                Telephone Number
  27

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                             EXHIBIT E

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From: Custer, Eric <ecuster@manaZ.com>
Sent: Tuesday, November 30, 2021 7:50 PM
To: Joseph Mannis <JMannis@HershMannis.com>
Cc: Candace Carlo <ccarlo@kleinberglange.com>
Subject: RE: Marilyn Wilson Rutherford
Importance: High

Hi Joe, yea, as the folks on your side presumably read in the press months ago (and which I think we discussed
in passing earlier this year as well), the Beach Boys sold to Iconic (Irving Azoﬀ’s company) a 51% interest in all of
the group’s assets (as opposed to individual assets of the members thereof, e.g., Brian’s writer royalces and
owned publishing, which is the subject of our other emails, were excluded, as were his solo projects). In
general, that sale covered things which did not involve Marilyn (i.e., Brother Records, Inc. Beach Boys assets
such as recordings, the trademark, group publicity rights, income from the foregoing, etc.).

However, you are correct that the Iconic sale also includes certain minor publishing assets that involve Marilyn,
to wit the sale by Brother Publishing and Wilojarston of the musical composicon copyrights owned by those
encces. Those are lesser known catalogs (basically songs wriZen from about 1970 to the early 1980s) and not
all wriZen by Brian. For your convenience, aZached are the catalog lists for Brother Publishing (249 songs,
many not wriZen by Brian) and Wilojarston (31 songs, the vast majority not wriZen by Brian). If you peruse
those catalog lists, you will see that these are not the major songs (I think the biggest songs in there are “Sail On
Sailor” and “Darlin”).

That sale was only 51% of the ownership interest/copyright of Brother Publishing and Wilojarston (and 100%
of the administracon rights) in these musical composicons, the other 49% being retained by those encces
(Iconic to account to those encces for that retained share going forward). As part of that, going forward Iconic
also assumed the obligacon to account and pay writer royalces, which includes writer royalces due to Brian on
those of the composicons that he wrote or co-wrote.

As such, the Iconic sale will not impact the writer royalces (generally 50% of 100% of earnings on such
composicons) that Brian receives in respect of those of the Brother Publishing and Wilojarston composicons
that he wrote. In turn, Brian will concnue to account to Marilyn for her 50% share of such songwriter royalces,
as has been done in the past, though these songs don’t generate that much in royalces per year.

In terms of the share of purchase price aZributable to the sale of these Brother Publishing and Wilojarston

                                                                                                                 Page 1 of 3
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musical composicon interests, economically what Iconic acquired was the enctlement to retain the 51% of net
revenues (aker deduccon of writer royalces) on such musical composicons. As with the other transaccon we
have been discussing, for such valuacon you look at the net share of earnings acquired by the buyer for such
asset applied against the mulcple applicable for such assets. The Brother accountants and related
representacves came up with the allocacons for the various assets sold, in consultacon with independent
outside tax counsel, the representacves of the shareholders and Iconic, and based on customary mulcples
applicable to assets of that type (in order to pass muster with the IRS as to treatment of the various asset
classes/allocacons).

While the Iconic sale closed some cme ago, Brother/Wilojarston had not distributed to the shareholders the
purchase price proceeds aZributable to these publishing assets, despite our protestacons that they be released
much earlier. The Brother business manager had been reserving against possible tax consequences, and
potencal impact of certain possible third party interests, which could have aﬀected the net distribucons to the
shareholders. He ﬁnally relented on this issue and was ordered by the shareholders to issue that distribucon in
late October. As a result, before I got your email, LeeAnn Hard was already in the process of preparing the next
statement to Marilyn covering her share of those monies, which will be about $70,000 (i.e., half of the
approximately $140,000 distributed to Brian by Brother/Wilojarston in respect of same). That statement and
payment will go out this week. Again, those monies represent the value of Marilyn’s 50% interest of Brian’s ¼
shareholder interest in the 51% interest acquired by Iconic in Brother/Wilojarston’s 50% publisher interest in
these lesser earning songs.

That’s a lot of fraccons of fraccons, but the basic point is that what was sold is a small piece of minor Beach
Boys publishing assets (and not Brian’s writer royalces in those songs), when compared against the deal we
have on the table with UMPG.

We can provide further detail/documentacon to help connect the dots on this valuacon and the share of the
purchase price aZributable to such assets, and the resulcng porcon distributed to Brian by
Brother/Wilojarston. In that regard, we can discuss what makes sense with respect to an NDA (and I will review
what you sent) so that we can be as transparent as possible (bearing in mind that such transaccon primarily
covered assets not relevant to Marilyn and involves the interests of third parces, e.g., Iconic, the other Beach
Boys and their encces, and so I have to double check the limits on what we can provide there or who I may
need consent from re same). That overall APA is long and convoluted and primarily deals with things other than
the Brother Publishing/Wilojarston publishing interests. So I am going to try and see whether there is
something that can be carved out that more easily connects the dots for you on the items at issue (I do recall
there was a separate assignment exhibit which reﬂects the publishing interests being transferred, and will look
back for that inically).

As before, let us know if you have any quescons; we think it makes sense to set a call to discuss the UMPG
issues in the next couple of days, so would appreciate if you can advise as to your availability re same.

Best,
Eric

From: Joseph Mannis <JMannis@HershMannis.com>
Sent: Tuesday, November 30, 2021 12:14 PM
To: Custer, Eric <ecuster@manaZ.com>
Cc: Candace Carlo <ccarlo@kleinberglange.com>
Subject: Marilyn Wilson Rutherford

Dear Eric,


                                                                                                                  Page 2 of 3
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In addicon to my leZer of November 18 emailed to you, I am now informed that Brother Records was sold
some cme in the recent past. Per the Judgment, that company was Brian’s separate property. However, Brother
Publishing was and is community property belonging ½ to each party. Please advise whether or not any porcon
of Brother Publishing or any of its assets were part of the sale of Brother Records.

Candace has advised that she believes that various publishing rights may have also been sold. Please provide a
copy of the sales agreement itself so that we can make our own determinacon of whether Marilyn’s rights were
aﬀected by the sale. If you are concerned about conﬁdencality, we are willing to sign the Court’s form
proteccve agreement. I have aZached same, from the Court website, for your review. Thank you in advance.

This email was prepared prior to receiving your email of yesterday akernoon, which I will respond to in the near
future.

Very truly yours,
JOSEPH MANNIS
Founding Partner


HERSH MANNIS LLP
9150 Wilshire Blvd., Suite 209
Beverly Hills, CA 90212
Phone: 310-786-1910
Fax: 310-786-1917
jmannis@hershmannis.com

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written with the intent that it be used, and in fact it cannot be used, to avoid penalties imposed under the
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                                   #:160




                             EXHIBIT F

 0.0
 Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 148 of 182 Page ID
                                    #:161




From: Joseph Mannis
Sent: Wednesday, December 15, 2021 3:40 PM
To: Custer, Eric <ecuster@mana^.com>
Cc: James M. Simon <JSimon@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject: RE: Brian/Marilyn

Eric,

Given the Ome crunch, I do not have wire instrucOons for Marilyn. At present, Universal’s check in the
amount of $11,022,937 should be made payable to Marilyn S. Wilson-Rutherford (Social Security No.
    ) c/o Hersh Mannis LLP, A^enOon Joseph Mannis, 9150 Wilshire Blvd., Suite 209, Beverly Hills, CA 90212.

Of course, pursuant to previous correspondence, I reserve Marilyn’s rights. She is considering your
se^lement oﬀer of an addiOonal $3,352,439.82, which would bring her total up to $14,375,376.78. We will
be back to you hopefully in the near future regarding a se^lement of this ma^er.

Please send us the ﬁnalized Universal/PW AcquisiOon Agreement. I have skimmed the drak Agreement you
provided and will read it in more depth tonight. My poor other clients. Again, thanks for your promptly
providing me and Candace with the drak agreement.

Very truly yours,
JOSEPH MANNIS
Founding Partner


HERSH MANNIS LLP

                                                                                                       Page 1 of 3
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                                    #:162

9150 Wilshire Blvd., Suite 209
Beverly Hills, CA 90212
Phone: 310-786-1910
Fax: 310-786-1917
jmannis@hershmannis.com

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Rules governing our practice before the Internal Revenue Service require that we advise you that any tax
advice in this communication (and any attachments) (i) is intended only for the addressee and (ii) is not
written with the intent that it be used, and in fact it cannot be used, to avoid penalties imposed under the
Internal Revenue Code or to promote, market, or recommend to another person any tax-related idea.




From: Custer, Eric <ecuster@mana^.com>
Sent: Wednesday, December 15, 2021 1:35 PM
To: Joseph Mannis <JMannis@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject: Brian/Marilyn
Importance: High

HI guys, so we have the ﬁnal ﬁgures calculated from the underlying source statements (which you can review
yourselves to Oe out the math).

End result is that net to Marilyn on the writer share sale is: $11,022,937

That is arrived at based on gross price for the writer share sale (before the 5% commission) of $33,324,023.50
mulOplied by the Marilyn pro rata share of 34.819% (that % is determined based on the pro rata earnings that
the community Sea Of Tunes composiOons contribute to the overall Sea of Tunes composiOons, i.e.,
accounOng for the fact that the ﬁrst few years of songs were pre marriage and thus separate property as per
the APA – that % is calculated in the a^ached spreadsheet based on data culled from the source BMI and
UMPG statements).

Aker the 5% commission, the numbers are then $31,657,822 x 34.819% = $11,022,937 as noted above.
That’s the share to Marilyn for the sale of the writer share.

As for the reversions sale, for informaOon purposes and in furtherance of our se^lement discussions
yesterday, total gross purchase price would be $20,269,293.40 for that interest, so aker the 5% commission
the net price would be $19,255,829. Again, our view is that per copyright law and the MSA, Marilyn does not
share on that, but as we have indicated, to Oe oﬀ all issues between our clients in regards to the subject of
our recent le^ers (except to your ability to double check to verify that the math indeed connects to the
underlying statements), and in view of impending tax increases and that UMPG closes this week, we would
be willing to split the diﬀerence on the reversions, i.e., share half of the 34.819%, i.e., pay Marilyn 17.41% of
the reversions price, to wit an addiOonal $3,352,439.82 (with Brian to retain the balance of the reversions
purchase price).


                                                                                                               Page 2 of 3
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So under that scenario the total to be paid to Marilyn this year would be $14,375,376.78.

I realize all of this is short noOce and to the extent too much to sort out in a day, we understand. We will be
proceeding with sale this week in any event, and to the extent we cannot resolve the reversions on the above
basis, then we understand everyone will reserve their arguments to make as to same, including from our side
that Marilyn is not enOtled to any of that. Given Ome deadline UMPG has imposed on us to be able to close
this year, unless we hear back from you by 3PM today, we will assume this se^lement proposal is not
acceptable to Marilyn and proceed accordingly. If it is acceptable, we could put together a term sheet and
document a more formal agreement next year without the Ome pressure.

As a formality, this is a conﬁdenOal se^lement communicaOon pursuant to California Evidence Code § 1152,
Federal Rule of Evidence 408 and similar laws to that eﬀect. The foregoing is not intended as a complete
recitaOon of all facts or legal theories pertaining to this ma^er, or of a waiver of any rights or remedies in
connecOon therewith, all of which are speciﬁcally reserved. Of course, feel free to contact me if you have any
quesOons.

Best,
Eric


From: Custer, Eric
Sent: Tuesday, December 14, 2021 1:59 PM
To: Joseph Mannis <JMannis@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject:

Thanks for the call, sorry had to be rushed as I understand these are consequenOal issues. If you guys have
quesOons or want to discuss further, I am pre^y open aker 3:30. If its all a bridge too far with not enough
Ome to deal with the non-writer share loose ends, totally understand that and we can work around it and
take those other elements up next year.

Best,
Eric




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                             EXHIBIT G1
 Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 152 of 182 Page ID
                                   Monday,
                                    #:165 January 10, 2022 at 09:31:31 Paciﬁc Standard Time

Subject: Re: [EXTERNAL] Brian/Marilyn
Date: Wednesday, December 15, 2021 at 2:53:23 PM Paciﬁc Standard Time
From: Custer, Eric
To:      Joseph Mannis, Candace Carlo

If you guys need an extra few minutes to hour to connect with your client, should be ok, all driven by needing to tell
UMPG what to put in re payment para and we have to tell them today.

From: Joseph Mannis <JMannis@HershMannis.com>
Sent: Wednesday, December 15, 2021 2:43:40 PM
To: Custer, Eric <ecuster@mana\.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject: RE: [EXTERNAL] Brian/Marilyn
[EXTERNAL] Please do not reply, click links, or open attachments unless you recognize the source of this message
and know the content is safe.



Thank you and I will of course treat the documentas conﬁden^al but reserve all use should there be any
li^ga^on.
From: Custer, Eric <ecuster@mana\.com>
Sent: Wednesday, December 15, 2021 1:47 PM
To: Candace Carlo <ccarlo@kleinberglange.com>
Cc: Joseph Mannis <JMannis@HershMannis.com>
Subject: RE: [EXTERNAL] Brian/Marilyn
Here you go, sent on the condi^on its treated as conﬁden^al informa^on, technically this is not ﬁnal ﬁnal, but
just a ma\er of picking nits to generate ﬁnal, including payment ^ming, won’t be any substan^ve changes
form here as we are out of ^me.
Best,
Eric
From: Candace Carlo <ccarlo@kleinberglange.com>
Sent: Wednesday, December 15, 2021 1:37 PM
To: Custer, Eric <ecuster@mana\.com>
Cc: 'Joseph Mannis' <JMannis@HershMannis.com>
Subject: RE: [EXTERNAL] Brian/Marilyn
Please forward the agreement also. Thank you!
From: Custer, Eric <ecuster@mana\.com>
Sent: Wednesday, December 15, 2021 1:35 PM
To: Joseph Mannis <JMannis@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject: [EXTERNAL] Brian/Marilyn
Importance: High
HI guys, so we have the ﬁnal ﬁgures calculated from the underlying source statements (which you can review
yourselves to ^e out the math).
End result is that net to Marilyn on the writer share sale is: $11,022,937
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accoun^ng for the fact that the ﬁrst few years of songs were pre marriage and thus separate property as per
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                             EXHIBIT G2
 Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 154 of 182 Page ID
                                   Monday,
                                    #:167 January 10, 2022 at 09:31:48 Paciﬁc Standard Time

Subject:    RE: [EXTERNAL] Brian/Marilyn
Date:       Wednesday, December 15, 2021 at 1:47:07 PM Paciﬁc Standard Time
From:       Custer, Eric
To:         Candace Carlo
CC:         Joseph Mannis
AEachments: Brian Wilson - UMPG - AcquisiRon Agreement - v8 - REDLINE.pdf

Here you go, sent on the condiRon its treated as conﬁdenRal informaRon, technically this is not ﬁnal ﬁnal, but
just a ma[er of picking nits to generate ﬁnal, including payment Rming, won’t be any substanRve changes
form here as we are out of Rme.
Best,
Eric
From: Candace Carlo <ccarlo@kleinberglange.com>
Sent: Wednesday, December 15, 2021 1:37 PM
To: Custer, Eric <ecuster@mana[.com>
Cc: 'Joseph Mannis' <JMannis@HershMannis.com>
Subject: RE: [EXTERNAL] Brian/Marilyn
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To: Joseph Mannis <JMannis@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
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As for the reversions sale, for informaRon purposes and in furtherance of our se[lement discussions
yesterday, total gross purchase price would be $20,269,293.40 for that interest, so amer the 5% commission
the net price would be $19,255,829. Again, our view is that per copyright law and the MSA, Marilyn does not
share on that, but as we have indicated, to Re oﬀ all issues between our clients in regards to the subject of
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So under that scenario the total to be paid to Marilyn this year would be $14,375,376.78.
I realize all of this is short noRce and to the extent too much to sort out in a day, we understand. We will be
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                             EXHIBIT G3
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                                   #:169
 Case 2:22-cv-01982-JLS-MAA Document 1-1 Filed 03/25/22 Page 157 of 182 Page ID
                                    #:170

Given the Tme crunch, I do not have wire instrucTons for Marilyn. At present, Universal’s check in the
amount of $11,022,937 should be made payable to Marilyn S. Wilson-Rutherford (Social Security No.
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you hopefully in the near future regarding a se_lement of this ma_er.
Please send us the ﬁnalized Universal/PW AcquisiTon Agreement. I have skimmed the draq Agreement you
provided and will read it in more depth tonight. My poor other clients. Again, thanks for your promptly
providing me and Candace with the draq agreement.
Very truly yours,
JOSEPH MANNIS
Founding Partner


HERSH MANNIS LLP
9150 Wilshire Blvd., Suite 209
Beverly Hills, CA 90212
Phone: 310-786-1910
Fax: 310-786-1917
jmannis@hershmannis.com
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written with the intent that it be used, and in fact it cannot be used, to avoid penalties imposed under the
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From: Custer, Eric <ecuster@mana_.com>
Sent: Wednesday, December 15, 2021 1:35 PM
To: Joseph Mannis <JMannis@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
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As for the reversions sale, for informaTon purposes and in furtherance of our se_lement discussions
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the net price would be $19,255,829. Again, our view is that per copyright law and the MSA, Marilyn does not
share on that, but as we have indicated, to Te oﬀ all issues between our clients in regards to the subject of
our recent le_ers (except to your ability to double check to verify that the math indeed connects to the
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                             EXHIBIT G4
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                                   Monday,
                                    #:172 January 10, 2022 at 09:32:14 Paciﬁc Standard Time

Subject:    RE: [EXTERNAL] RE: Brian/Marilyn
Date:       Wednesday, December 15, 2021 at 4:18:21 PM Paciﬁc Standard Time
From:       Custer, Eric
To:         Candace Carlo, Joseph Mannis
CC:         James M. Simon
ADachments: image001.jpg

Checking.
From: Candace Carlo <ccarlo@kleinberglange.com>
Sent: Wednesday, December 15, 2021 4:17 PM
To: Custer, Eric <ecuster@manaV.com>; 'Joseph Mannis' <JMannis@HershMannis.com>
Cc: 'James M. Simon' <JSimon@HershMannis.com>
Subject: RE: [EXTERNAL] RE: Brian/Marilyn
We would appreciate seeing Exhibits A and J in par\cular, if you have them. Thanks!
From: Custer, Eric <ecuster@manaV.com>
Sent: Wednesday, December 15, 2021 4:15 PM
To: Candace Carlo <ccarlo@kleinberglange.com>; 'Joseph Mannis' <JMannis@HershMannis.com>
Cc: 'James M. Simon' <JSimon@HershMannis.com>
Subject: RE: [EXTERNAL] RE: Brian/Marilyn
Will hunt for them but not sure I have them, though that should all be pro forma stuﬀ (LODs, songs lists etc.),
I only have what Branca has been sending to me and don’t remember seeing that in the fusillade of emails,
but will look.
From: Candace Carlo <ccarlo@kleinberglange.com>
Sent: Wednesday, December 15, 2021 4:13 PM
To: 'Joseph Mannis' <JMannis@HershMannis.com>; Custer, Eric <ecuster@manaV.com>
Cc: 'James M. Simon' <JSimon@HershMannis.com>
Subject: RE: [EXTERNAL] RE: Brian/Marilyn
Eric, please include the exhibits. Thanks!
From: Joseph Mannis <JMannis@HershMannis.com>
Sent: Wednesday, December 15, 2021 3:40 PM
To: Custer, Eric <ecuster@manaV.com>
Cc: James M. Simon <JSimon@HershMannis.com>; Candace Carlo <ccarlo@kleinberglange.com>
Subject: [EXTERNAL] RE: Brian/Marilyn
Eric,
Given the \me crunch, I do not have wire instruc\ons for Marilyn. At present, Universal’s check in the
amount of $11,022,937 should be made payable to Marilyn S. Wilson-Rutherford (Social Security No.
      ) c/o Hersh Mannis LLP, AVen\on Joseph Mannis, 9150 Wilshire Blvd., Suite 209, Beverly Hills, CA 90212.
Of course, pursuant to previous correspondence, I reserve Marilyn’s rights. She is considering your seVlement
oﬀer of an addi\onal $3,352,439.82, which would bring her total up to $14,375,376.78. We will be back to
you hopefully in the near future regarding a seVlement of this maVer.
Please send us the ﬁnalized Universal/PW Acquisi\on Agreement. I have skimmed the drao Agreement you
provided and will read it in more depth tonight. My poor other clients. Again, thanks for your promptly
providing me and Candace with the drao agreement.
Very truly yours,
JOSEPH MANNIS
Founding Partner




                                                                                                           Page 1 of 3
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                             EXHIBIT H

 0.0
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                                    #:174


                                   ATTORNEYS AT LAW
                                9150 Wilshire Boulevard Suite 209
                                     Beverly Hills, CA 90212
                                     www.hershmannis.com
                                          310.786.1910




PERSONAL & CONFIDENTIAL                                             November 29, 2021
  MARILYN WILSON-RUTHERFORD                                             Invoice: 39844
  6236 ROYER AVE.
  WOODLAND HILLS, CA 91364



  SERVICES RENDERED THROUGH NOVEMBER 24, 2021
  File Number: 2121-090 - WILSON-RUTHERFORD



  Total Fees                                                               5,480.00

  Total Fees and Costs Advanced this Period                                5,480.00
  Overhead Fee per Retainer                                                  274.00
  Net Charges This Period                                                  5,754.00



  PAYMENTS RECEIVED AFTER INVOICE DATE WILL NOT BE REFLECTED ON THIS STATEMENT
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                                                                      Invoice Number          39844
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RE:    2121-090 - WILSON-RUTHERFORD


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                                    #:177


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                                     Beverly Hills, CA 90212
                                     www.hershmannis.com
                                          310.786.1910




PERSONAL & CONFIDENTIAL                                             December 28, 2021
  MARILYN WILSON-RUTHERFORD                                             Invoice: 39958
  6236 ROYER AVE.
  WOODLAND HILLS, CA 91364



  SERVICES RENDERED THROUGH DECEMBER 27, 2021
  File Number: 2121-090 - WILSON-RUTHERFORD



  Total Fees                                                              31,007.50
  Courtesy Discount                                                       -7,000.00

  Total Fees and Costs Advanced this Period                               24,007.50
  Overhead Fee per Retainer                                                1,200.38
  Net Charges This Period                                                 25,207.88
  Outstanding Balance from Prior Period                                    5,754.00
  Payments Received                                                       -1,000.00

  Total Balance Due                                                      29,961.88


  PAYMENTS RECEIVED AFTER INVOICE DATE WILL NOT BE REFLECTED ON THIS STATEMENT
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                                                                           Invoice Number          39958
                                                                                     Page              2

RE:    2121-090 - WILSON-RUTHERFORD

PROFESSIONAL SERVICES
  DATE                                     DESCRIPTION                                 HOURS       AMOUNT

       JOSEPH MANNIS
11/29/21   Correspondence; Instructions to Cindy                                            0.40      360.00
11/30/21   Correspondence; Review                                                           1.00      900.00
12/01/21   Telephone call with Candace Carlo; Telephone call with Andrew Stein              0.40      360.00
12/06/21   Review; Instructions to Cindy Payton                                             0.20      180.00
12/07/21   Correspondence                                                                   0.20      180.00
           Correspondence; Telephone call with Marilyn                                      0.60      540.00
12/08/21   Dictate                                                                          1.00      900.00
12/09/21   Telephone call with Jim Simon                                                    0.30      270.00
           Dictate; Review and revise; Telephone call with Jim Simon; Telephone call        0.80      720.00
           with John Branca; Telephone call with Marilyn
12/10/21   Telephone call with John Branca; Correspondence                                  0.50      450.00
12/13/21   Review and revise RFO for accounting                                             0.60      540.00
           Telephone call with Marilyn; Telephone call with Branca                          0.70      630.00
           Correspondence                                                                   0.40      360.00
12/14/21   Telephone calls with Jim Simon (2); Telephone call with Andrew Stein             0.40      360.00
           Instructions to Cindy Payton                                                     0.20      180.00
           Correspondence                                                                   0.20      180.00
           Conference with Cindy Payton, etc.                                               0.20      180.00
           Telephone call with Eric Custer and Candace Carlo; Telephone call with           1.00      900.00
           Marilyn Wilson
12/15/21   Prepare                                                                          0.50      450.00
           Telephone call with                                                              1.10      990.00
           Correspondence; Review                           ; Telephone call with           2.80    2,520.00
           Marilyn; Telephone call with Candace Carlo, etc.
           Telephone call with Candace Carlo                                                0.30      270.00
12/16/21   Correspondence; Telephone call with Jim Simon; Telephone call with John          1.00      900.00
           Branca
           Review                                                                           0.20      180.00
12/17/21   Correspondence                                                                   0.20      180.00
12/20/21   Telephone call with Marilyn                                                      0.50      450.00
12/21/21   Review; Telephone call with                                                      0.30      270.00
12/22/21   Correspondence                                                                   0.20      180.00
           Telephone call with Marilyn; Telephone call with                                 0.60      540.00
12/23/21   Correspondence                                                                   0.40      360.00
           Telephone call with accountants re          ,                                    0.50      450.00
           Correspondence                                                                   0.20      180.00
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                                                                           Invoice Number           39958
                                                                                     Page               4

RE:     2121-090 - WILSON-RUTHERFORD

  DATE                                     DESCRIPTION                                 HOURS          AMOUNT

12/13/21    Read and comment on proposed E-mail to Custer                                   0.20         115.00
12/14/21    Conference call with lawyers re                                                 0.20         115.00
12/15/21    Participate in Zoom call with client and lawyers re                             1.10         632.50

            Read Custer E-mails re proposed sale and re proposed deal with Marilyn          0.20         115.00
12/16/21    Read Jim's memo on                                                              0.20         115.00
                  TOTAL FOR ANDREW M. STEIN                                             20.40       $11,155.00


STAFF SUBTOTALS
      Joseph Mannis                                               18.7 hrs @ 900.00            16,830.00
      James M. Simon                                               3.9 hrs @ 775.00                3,022.50
      Andrew M. Stein                                             19.4 hrs @ 575.00            11,155.00
      Andrew M. Stein                                               1 hrs @ 0.00                       N/C
                  TOTAL PROFESSIONAL SERVICES                      43.00                     $31,007.50


TOTAL NEW CHARGES                                                                                   $31,007.50

COURTESY DISCOUNT                                                                                    -$7,000.00

OVERHEAD FEE PER RETAINER                                                                             $1,200.38



NET CHARGES THIS PERIOD                                                                             $25,207.88

BALANCE FORWARD                                                                                      $5,754.00



PAYMENTS & CREDITS
12/14/21    Payment - Thank you, Check # 38123023                                                    -$1,000.00

                  TOTAL PAYMENTS & CREDITS                                                          -$1,000.00



UNPAID BALANCE FORWARD                                                                               $4,754.00



TOTAL BALANCE DUE **PLEASE PAY THIS AMOUNT**                                                        $29,961.88
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                                         #:181
                                                                      Invoice Number          39958
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RE:    2121-090 - WILSON-RUTHERFORD

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                                          #:182


                                           ATTORNEYS AT LAW
                                       9150 Wilshire Boulevard Suite 209
                                            Beverly Hills, CA 90212
                                            www.hershmannis.com
                                                 310.786.1910




   PERSONAL & CONFIDENTIAL                                                               January 26, 2022
        MARILYN WILSON-RUTHERFORD                                                          Invoice: 40073
        6236 ROYER AVE.
        WOODLAND HILLS, CA 91364



        SERVICES RENDERED THROUGH JANUARY 25, 2022
        File Number: 2121-090 - WILSON-RUTHERFORD



        Total Fees                                                                           21,393.00
        Courtesy Discount                                                                    -5,000.00
        Client Costs Advanced                                                                       61.82

        Total Fees and Costs Advanced this Period                                            16,454.82
        Overhead Fee per Retainer                                                                  819.65
        Net Charges This Period                                                              17,274.47
        Outstanding Balance from Prior Period                                                29,961.88
        Payments Received                                                                   -29,961.88
        Retainer Applied                                                                    -17,274.47

        Total Balance Due                                                                           0.00


        PAYMENTS RECEIVED AFTER INVOICE DATE WILL NOT BE REFLECTED ON THIS STATEMENT



Retainer Account
Date           Transaction                                                 Deposits    Payments             Balance

01/06/2022     Payment Received from: Marilyn Wilson-Rutherford        $45,038.12          $0.00      $45,038.12
               Check #: XFER Wilson | Balance of retainer for xfer
               to Retainer acct
01/26/2022     Retainer applied to Invoice #40073                                     $17,274.47      $27,763.65
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                                                                           Invoice Number          40073
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RE:    2121-090 - WILSON-RUTHERFORD

PROFESSIONAL SERVICES
  DATE                                      DESCRIPTION                                HOURS        AMOUNT

       JOSEPH MANNIS
12/28/21   Telephone call with                     re                                       1.00       900.00
12/30/21   Telephone call with          Telephone call with Marilyn                         0.80       720.00
01/03/22   Correspondence; Instructions to Cindy Payton                                     0.20       185.00
01/04/22   Review                                                                           1.00       925.00
01/05/22   Telephone call with                 ; Correspondence                             0.60       555.00
01/06/22   Telephone call with Andrew Stein; Correspondence                                 0.40       370.00
01/07/22   Review estate issues; Correspondence; Instructions to Cindy Payton               1.00       925.00
           Telephone call with Andrew Stein re                                              0.40       370.00
01/10/22   Correspondence                                                                   0.20       185.00
01/11/22   Correspondence; Review                                                           0.50       462.50
           Review Points and Authorities; Telephone call with Marilyn                       1.00       925.00
01/12/22   Correspondence                                                                   0.20       185.00
01/13/22   Correspondence; Conference with Neal Hersh; Telephone call with                  1.20     1,110.00
            ; Telephone call with client; Instructions to Andrew Stein
01/17/22   Review; Correspondence                                                           1.00       925.00
01/18/22   Telephone calls with Marilyn (3)                                                 0.30       277.50
           Review and revise Points and Authorities; Conference with Jim Simon;             1.90     1,757.50
           Telephone call with Andrew Stein; Review
01/19/22   Correspondence                                                                   0.20       185.00
01/20/22   Telephone call with Andrew Stein re                    ; Correspondence          0.30       277.50
           Telephone conference with                    re              [NO CHARGE]         1.00         N/C
           Conference with Marilyn re                                                       0.30       277.50
           Telephone call with                                                              0.20       185.00
01/21/22   Telephone call with Merrill Lynch                                                0.30       277.50
           Telephone call with Marilyn re                 ; Correspondence [NO              0.20         N/C
           CHARGE]
01/24/22   Correspondence                                                                   0.20       185.00
01/25/22   Correspondence; Telephone call with                                              0.50       462.50
                  TOTAL FOR JOSEPH MANNIS                                               14.90      $12,627.50

       JAMES M. SIMON
01/10/22   Pull                                                                             0.30       232.50
01/18/22   Review and revise email re                                                       0.40       310.00
           Conference with Mannis re                                                        0.40       310.00
01/19/22   Emails Mannis re                                                                 0.30       232.50
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                                                                                    Page              3

RE:    2121-090 - WILSON-RUTHERFORD

                 TOTAL FOR JAMES M. SIMON                                                  1.40   $1,085.00

       ANDREW M. STEIN
01/06/22   Telephone call from lawyer re                                                   0.20      119.00
           Update accounting RFO                                               ; Revise    1.40      833.00

           Telephone call to secretary re                                                  0.30      178.50
01/07/22   Telephone call from lawyer re                                                   0.20      119.00
01/10/22   Telephone call from paralegal re                                                0.20      119.00
01/10/22   Revise RFO                                  and prepare Judicial Council        4.50    2,677.50
           forms
01/11/22   Review and revise complete draft of accounting RFO                      and     0.40      238.00
                             E-mail memo
01/13/22   Telephone call from lawyer re                                                   0.20      119.00
                                      ; Prepare E-mail and send documents
01/18/22   Read draft E-mail to opposing counsel; Comment; Call from lawyer re             0.20      119.00

           Telephone call from lawyer re                                                   0.50      297.50
           Update RFO based on instructions from lawyer; Related research and              1.60      952.00
           E-mail
01/19/22   Follow-up re RFO re accounting and fees, including review of redline and        0.20      119.00
           preparing of E-mail memo
01/20/22   Telephone call to lawyer re                       ; Related E-mail to           0.20      119.00
                  lawyer
           Telephone call to         lawyer re                       ; Brief related       0.30      178.50
           research
           Research re                  and supplement P's & A's for RFO re                1.70    1,011.50
           accounting and fees; Revise P's & A's to fit within 15 pages; Prepare
           related E-mail memo
                 TOTAL FOR ANDREW M. STEIN                                                12.10   $7,199.50

       MAX E. GOOSSEN
01/18/22   Work on going through all of our files to find                                  1.10      324.50

01/19/22   Email attorney serve re                                                         0.20       59.00
                 TOTAL FOR MAX E. GOOSSEN                                                  1.30    $383.50

       IRIS F. GOLDMAN
01/10/22   Review email from A. Stein; Redact statements from March 2021 to                0.50       97.50
           current; Telephone calls to A. Stein re same
                 TOTAL FOR IRIS F. GOLDMAN                                                 0.50     $97.50
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                                                             Invoice Number       40073
                                                                       Page           4

RE:      2121-090 - WILSON-RUTHERFORD


STAFF SUBTOTALS
      Joseph Mannis                                11.9 hrs @ 925.00           11,007.50
      Joseph Mannis                                 1.8 hrs @ 900.00            1,620.00
      Joseph Mannis                                 1.2 hrs @ 0.00                  N/C
      James M. Simon                                1.4 hrs @ 775.00            1,085.00
      Andrew M. Stein                              12.1 hrs @ 595.00            7,199.50
      Max E. Goossen                                1.3 hrs @ 295.00              383.50
      Iris F. Goldman                               0.5 hrs @ 195.00               97.50
                    TOTAL PROFESSIONAL SERVICES      30.20                    $21,393.00



COSTS ADVANCED
01/06/22     Federal Express #                                                          61.82
                    TOTAL COSTS ADVANCED                                             $61.82


TOTAL NEW CHARGES                                                                $21,454.82

COURTESY DISCOUNT                                                                 -$5,000.00

OVERHEAD FEE PER RETAINER                                                            $819.65



NET CHARGES THIS PERIOD                                                          $17,274.47

BALANCE FORWARD                                                                  $29,961.88



PAYMENTS & CREDITS
01/05/22     Payment - Thank you, Check # 1204                                   -$29,961.88

                    TOTAL PAYMENTS & CREDITS                                     -$29,961.88



01/26/22        Payment - Retainer Account                                       -$17,274.47

UNPAID BALANCE FORWARD                                                                $0.00



TOTAL BALANCE DUE **PLEASE PAY THIS AMOUNT**                                          $0.00
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RE:    2121-090 - WILSON-RUTHERFORD

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                              EXHIBIT I

 0.0
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                                                           #:188



          P"OFILE


AREAS OF SPECIALTY
      & EDUCATION

        AWARDS &


                                                                       JOHN BRANCA
       ACCOLADES

       COMMUNITY
     INVOLVEMENT

       CREATIVE &                                                      ENTERTAINMENT & CORPORATE LAWYER
      P"ODUCTION


 MICHAEL JACKSON                                                                  ABOUT JOHN               CONTACT



        PERSONAL



   PHOTO GALLE"Y



    NEWS/A"TICLES



          CLIENTS
                     Marty Bandier, CEO/Chairman of Sony/ATV Music Publishing, called entertainment
                     attorney John Branca “the #1 publishing lawyer in the country.” Michael Jackson hailed
                     Branca, his longtime business and legal advisor, as “the greatest lawyer of our time.”
                     And client Carlos Santana called him simply “the Shaman.” Branca has been advancing
                     the careers of recording artists and music companies, among others, for more than
                     four decades.

                     Branca is a partner and head of the music department at the prominent entertainment
                     law firm Ziffren Brittenham LLP where his clients have included more than 30 members
                     of the Rock and Roll Hall of Fame – among them Aerosmith, the Beach Boys, Bob
                     Dylan, the Doors, Dr. Dre, Earth, Wind and Fire, ELO, Fleetwood Mac, John Fogerty,
                     Don Henley, Elton John, Nirvana, the estate of Otis Redding, Smokey Robinson, the
                     estate of Elvis Presley and the Rolling Stones – sports figures such as Mike Tyson, the
                     comedians Richard Pryor and Eddie Murphy and the Vatican, independent record
                     labels such as Interscope Records and Rhino Records and industry investors such as
                     JVC, Matsushita and Vivendi.

                     Still, Michael Jackson burns bright in the John Branca firmament of luminaries. Branca
                     lent his expertise to the King of Pop on and off from 1980 through Jackson’s passing,
                     and since 2009 he and music executive John McClain have served as custodians of the
                     Michael Jackson Estate and brand, initially as co-executors, then additionally as co-
                     managers. Since then, Branca has led in the creation of one of the most successful
                     touring shows of all time, Michael Jackson THE IMMPORTAL World Tour, the acclaimed
                     permanent Las Vegas Show, Michael Jackson ONE, and in this moment is embarking
                     on the 2022 opening of the Broadway show, MJ The Musical. With a biopic and other
                     projects in the future, there seems to be no end in sight to the possibilities Branca has
                     in store for the Michael Jackson brand.

                     Branca’s attention to Jackson’s interests has taken on near-mythic proportions. The
                     first milestone came in 1983, when Jackson needed $1 million to make what would
                     become the 14-minute “Thriller” video, which was conceived as a way to put the 1982
                     album “Thriller” back on the top of the charts. As Jackson recalled in “Moonwalk,” his
                     autobiography: “John came up with a great idea. He suggested we make a separate
                     video, financed by somebody else, about the making of the ‘Thriller’ video. It seemed
                     odd that no one had ever done this before.” Branca raised the funds by selling rights to
                     MTV, Showtime and a home video company. The result was the 60-minute
                     documentary “Making Michael Jackson’s Thriller.”

                     “Michael Jackson’s Thriller” is the official title of the “Thriller” video. A bona fide pop-
                     cultural phenomenon, it has sold upwards of 10 million copies and is the only music
                     video to be inducted into the National Film Registry by the Library of Congress. The
                     album “Thriller,” meanwhile, is the best-selling album of all time, with 103 million copies
                     sold.

                     Branca’s “Making Michael Jackson’s Thriller” gambit nonetheless pales in comparison to
                     what came next: his negotiation, in 1985, of the $47.5 million purchase of ATV Music
                     Publishing, home to the Lennon-McCartney catalog; the 1995 partnership deal with
                     Sony that created Sony/ATV Music and netted Jackson $110 million at the time; the
                     license to Sony, upon Jackson’s death, of future music rights for $250 million in what
                     remains the biggest record deal in history; and the $2.2 billion acquisition by Sony of
                     EMI Music Publishing in 2013, which created the biggest music publishing
                     conglomerate in history.

                     When Branca appeared on “60 Minutes” in 2013, host Lara Logan summarized his and
                     McClain’s guidance of the estate as “the most remarkable financial and image
                     resurrection in pop-culture history.” And that was before the 2016 sale of Jackson’s
                     EMI-fattened stake in his partnership with Sony/ATV – a $750 million bonanza.

                     “Our investment banker analyzed Michael’s return on the Sony/ATV investment,”
                     Billboard quoted Branca as saying in 2016, “and concluded that it averaged in excess of
                     30 percent per annum from inception in 1985 to sale.” And that did not include the July
                     2018 purchase of the Estate’s share in EMI, about which Billboard concluded, “The
                     Jackson estate held a 9.84% interest in EMI which means that without putting up any
                     money in the deal, by virtue of its stake in Sony/ATV, the Jackson estate received
                     $287.5 million, not a bad return on a zero dollar investment.”

                     Branca is also chairman of The Michael Jackson Company – which in 2009 coproduced
                     the film “This Is It,” the highest-grossing concert film of all time, with gross revenue in
                     excess of $500 million – and Optimum Productions, producer of the animated “Michael
                     Jackson’s Halloween,” a 2017 CBS prime-time special, and “Michael Jackson’s Thriller
                     3D,” which debuted in 2017 at the Venice Film Festival. He also was a producer of the
                     Spike Lee movies “Michael Jackson’s Journey from Motown to Off the Wall” and “Bad
                     25”.

                     In another inspired move, Branca initiated a partnership for the Estate with Cirque du
                     Soleil, of which Jackson had been a devoted fan. Cirque du Soleil’s “Michael Jackson:
                     The Immortal World Tour” ran from 2011-2014, closing as one of the Top 10 highest-
                     grossing tours ever. “Michael Jackson ONE” has resided in Las Vegas breaking box
                     office records at the Mandalay Bay Resort and Casino since 2013. And in continuing
                     Michael’s philosophy of always working with the best talent in the world, the Estate
                     brought in Tony Award winning Director/Choreographer Christopher Wheeldon and
                     two-time Pulitzer Prize winner Lynn Nottage to create MJ The Musical, opening in
                     February 2022.

                     At the time of his passing, Jackson was roughly $500 million in debt; in just under
                     seven years, Branca’s shrewd supervision of his assets put the Michael Jackson Estate
                     $500 million in the black. It was the billion-dollar turnaround heard round the world.

                     John Branca Sr. (John’s father) was a promising high-school baseball player who later
                     became the New York State Athletic Commissioner and a New York assemblyman.
                     (John’s uncle, the legendary Ralph Branca featured in the movie “42”, pitched for the
                     Brooklyn Dodgers and was a teammate and lifelong friend of Jackie Robinson.) John’s
                     mother, dancer/singer/actress Barbara Werle, whose credits include two Elvis Presley
                     movies, had relocated to L.A. when John was four after she and John’s father divorced.
                     John joined his mother on the west coast when he turned 11.

                     He started his first band at 13, playing keyboards and guitar and writing songs. This was
                     two years after arriving in L.A. from Mt. Vernon, N.Y., where he’d been living with his
                     father and buying a 7-inch 45 rpm record every Saturday with his weekly allowance.

                     When he was 16, John’s band scored a record deal – the act’s profile had been raised
                     by gigs opening for the Doors, including a show at the famed Whisky a Go Go. His
                     studies suffered, however, and when the band failed to catch fire, his mother insisted
                     he either commit to high school or get a job. He chose the former but later opted for a
                     third route.

                     As recounted by Southern California Super Lawyers in 2006: “One day Branca marched
                     into the principal’s office and announced, ‘I’m done.’ And, amazingly, the principal let
                     him go and let him graduate. ‘It was perhaps an indication of early negotiating skills,’
                     Branca says, ‘since I accurately read the principal’s capacity for aggravation (limited)
                     and real motivation, for tuition.”

                     The barrister-to-be then enrolled in Los Angeles City College, where he majored in
                     music but determined that, as he put it, “I had inherited my mother’s athletic ability
                     and my father’s musical skills.” So he transferred to Occidental College, graduating cum
                     laude and with honors, earning a degree in political science, then entered UCLA
                     School of Law. He was editor-in-chief of one of the law reviews there and earned his
                     J.D. in 1975.

                     Branca actually began his career in estate law, the legal field having become a viable
                     career option after rock stardom didn’t pan out. Estate planning (with the firm Kindel &
                     Anderson) gave way to entertainment law after Branca experienced a lightbulb
                     moment while reading an article in Time Magazine about Elton John that highlighted
                     the star’s representation in legal negotiations. (Branca would later represent John and,
                     among other things, handle John’s agreement to write music for “The Lion King.”)

                     By the age of 27, Branca had joined the firm of Hardee Barovick Konecky and begun
                     negotiating tours, with Bob Dylan, the Beach Boys, George Harrison and Neil Diamond
                     among his first artist clients.

                     Touring would also be the setting for one of Branca’s most notable innovations. When
                     the Rolling Stones were preparing their 1989 “Steel Wheels” tour, Branca gave control
                     of sponsorships, venues, ticket sales and merchandise to a single concert promoter,
                     departing from the tradition of local promoters handling each city. This would make
                     the tour significantly easier to organize, which meant venues could be determined
                     earlier and tickets sold sooner. This scheme has since become the model for major
                     concert tours.

                     In 1980, Branca found himself working on the Michael Jackson account. He and the
                     artist had an immediate rapport, with Jackson even wondering if they’d met before.

                     Calling Branca one of his “closest and most valued advisors,” Jackson recounts in
                     “Moonwalk”: “John had been working with me ever since the Off the Wall days; in fact,
                     he even helped me out by donning many hats and functioning in several capacities
                     when I had no manager after Thriller was released. He’s one of those extremely
                     talented, capable men who can do anything.” When Branca married his first wife,
                     Jackson was his best man. (Little Richard officiated; David Lee Roth threw the bachelor
                     party.)

                     In 1981, Branca joined Ziffren Brittenham, where he continued his association with the
                     King of Pop and maintained relationships with record labels, publishing companies and
                     music executives. He made headlines when he sold Berry Gordy’s Jobete music
                     publishing company (the “Motown catalog”) for a record breaking valuation multiple.
                     He made further headlines when he sold the Leiber & Stoller catalog for yet another
                     valuation record, and also the Rodgers & Hammerstein Organization. He likewise
                     gained recognition for advising both Matsushita and Vivendi on the acquisition of
                     Universal Music. He has advised numerous independent labels, including Death Row
                     Records, Rhino Records, and the groundbreaking Interscope Records which he
                     represented during its formation and subsequent very lucrative sale. In addition, he
                     guided Carlos Santana to reunite with Clive Davis leading to the “Supernatural” album
                     which sold in excess of 25 million copies worldwide, and is the only album along with
                     “Thriller” to garner eight Grammy awards. During this period, Branca and his firm also
                     represented such mega-selling acts as the Backstreet Boys, Celine Dion, TLC, and
                     Usher, among others, and established a trend of mega artist deals for clients including
                     Michael Jackson, Aerosmith, the Rolling Stones, ZZ Top, and Don Henley, among
                     others.

                     Branca has represented notable music industry investors including Richard Branson,
                     Ron Perelman (MacAndrews & Forbes), Apollo Advisors, Boston Ventures, Vivendi,
                     Matsushita, JVC, Marvin Davis, Walt Disney, Inc, Dick Clark Productions, Safeguard
                     Scientifics, Authentic Brands Groups, and others. Recently, Branca completed a record
                     distribution deal for the Bee Gees catalog with Capitol, secured a publishing-
                     administration deal for Barry Gibb and produced a prime-time special Grammy tribute
                     to the Bee Gees. Additionally he has negotiated various signature agreements for
                     Enrique Iglesias, Lil Pump and the Elvis Presley estate.

                     Branca’s career has not been strictly about dealmaking, however. He is chairman
                     emeritus of MusiCares, the Recording Academy charity whose mission is to provide “a
                     safety net of critical assistance for music people in times of need.” Billboard related in
                     2016: “Branca cites the organization’s largest undertaking as the most inspiring: ‘During
                     Hurricane Katrina, musicians in New Orleans lost their instruments and the ability to
                     make a living.’ MusiCares immediately pledged $1 million in aid for Katrina and, as
                     [Recording Academy president Neil] Portnow proudly notes, ‘We were there before
                     FEMA.’”

                     Branca has also been involved in MusiCares because it is a source of help and hope for
                     musicians struggling with substance abuse. In 1992, he was instrumental in the
                     formation of the Musicians’ Assistance Program, which was acquired by MusiCares in
                     2004. He’s on the Board of Trustees of Occidental College and the Board of the UCLA
                     Law School Ziffren Center for Media, Entertainment, Technology and Sports Law, and
                     he’s acted as a fundraiser for UCLA Athletics. He recently joined the Board of the Jackie
                     Robinson Foundation, the UCLA Herb Alpert School of Music and the Grammy
                     Museum.

                     But Branca has served artists throughout his career primarily by making them money,
                     in some cases as an expert on copyright law and royalty recovery – helping Don
                     Henley regain ownership of his Eagles copyrights, John Fogerty attain a royalty on
                     Creedence Clearwater Revival, and the Beach Boys and the Doors obtain increases on
                     catalog royalties – but mostly, as legendary Motown Records founder Berry Gordy
                     called him, “the Smokey Robinson of dealmaking.”

                     Even so, as he told the L.A. Business Journal in 2017: “For somebody who is interested
                     first and foremost in making money … you would probably go up to Silicon Valley. But
                     for me, my motivation is that I love music … Growing up, if you had told me I could
                     represent … Brian Wilson, Mick Jagger and Michael Jackson, I would have said, how
                     much do I have to pay to do that? To even meet [them] would have been enough.”

                                                                   READ LESS -




                     AREAS OF                                               EDUCATION
                     SPECIALTY                                                     AA in Philosophy, Los Angeles City

                             Artist Representation                                 College 1970

                             Artist Re-Branding                                    AB Political Science, Occidental
                                                                                   College, Cum Laude with honors
                             Asset Acquisitions and Sales                          1972

                             Corporate Investment Strategies                       JD UCLA School of Law, 1975

                             Estate Representation

                             Live Performance and Touring

                             Music Publishing

                             Royalty Recovery and Copyright
                             Law




                     AWARDS & ACCOLADES
                     (Partial List)

                     Martindale-Hubbell AV Preeminent Rating

                     Best Lawyers in America (every edition 1987-2018)

                     Lawyers.com Best Lawyers in America in the practice areas of Entertainment Law –
                     Motion Pictures and Television and Entertainment Law- Music

                     Best Lawyers in the World

                     Billboard Magazine Top Lawyers List

                     Hollywood Reporter Power Lawyers List

                     Variety Magazine Power List

                     LA Business Journal Los Angeles 500: LA’s Most Influential People

                     Alumnus of the Year UCLA Law School

                     Alumnus of the Year Occidental College

                     Alumnus of the Year Los Angeles City College

                     American Lawyer Magazine Lawyer of the Year

                     Billboard Magazine Lawyer of the Year

                     Grammy Foundation Entertainment Law Initiative Service Award

                     Musician’s Assistant Program Honoree of the Year

                     Marquis Who’s Who #1 Music Attorney in the World

                     Who’s Who in America

                     Who’s Who in the World

                     Who’s Who in Business

                     Who’s Who in Entertainment

                     Who’s Who in Law

                     Billboard Magazine Touring, Conference & Awards Creative Content Award for
                     Michael Jackson THE IMMORTAL World Tour

                     Albert Nelson Marquis Lifetime Achievement Award

                     Expert Guides List Leading Lawyers

                     Acquisition International List Leading Corporate Entertainment Lawyers

                     Southern California Super Lawyers List

                     Editor-in-Chief, UCLA – Alaska Law Review

                     American Jurisprudence Award (Estate Planning)

                     Lawdragon Hall of Fame – 500 Leading Lawyers in America




                     COMMUNITY INVOLVEMENT
                     (Partial List)

                     Grammy Museum Board of Trustees

                     Occidental College Board of Trustees

                     Ziffren Center at UCLA Law School Advisory Board

                     Chair Emeritus of MusicCares and Chairman of the Capital Campaign

                     Occidental College Obama Scholars Advisory Council

                     Musicians Assistance Program founding member

                     UCLA/Pauley Pavilion Renovation Campaign Committee

                     Guest lecturer Stanford University, UCLA Law School, USC Law School, Occidental
                     College, Los Angeles City College among others

                     Board of Directors, The Jackie Robinson Foundation

                     Board of Directors, UCLA Herb AlpertSchool of Music

                     Charities Mr. Branca and His Firm Supports

                     (Partial List)

                     ACLU

                     The Anti-Defamation League

                     Brady Center to Prevent Gun Violence

                     Campbell Hall School

                     Church of the Good Shepherd

                     City of Hope

                     Club 42 – an integrated youth baseball league

                     Conservation International

                     Environmental Defense Fulfillment Fund

                     Grammy Museum

                     Habitat for Humanity

                     HELP Group

                     Last Chance for Animals

                     Los Angeles City College

                     L.A. Free Clinic

                     Milagro Foundation

                     MusiCares

                     Musicians Assistance Program

                     The National Resources Defense Council

                     Neil Bogart Memorial Foundation

                     Occidental College

                     Professional Baseball Scouts Foundation

                     Rape Foundation

                     Semper Fi

                     Sierra Canyon

                     St. Catherine of Siena Catholic Church

                     TJ Martell Foundation

                     UCLA Foundation

                     UCLA Law School

                     UCLA Pauley Pavilion Renovation Campaign

                     UCLA Law School Ziffren Center




                     CREATIVE AND P"ODUCTION
                     Co-Manager of the Beach Boys 50th Anniversary Reunion Tour.

                     Executive Producer of Michael Jackson’s This is It, the most successful concert film in
                     history.

                     Executive Producer of Cirque Du Soleil’s Michael Jackson IMMORTAL World Tour, the
                     #1 grossing tour in North America, 2011-2012.

                     Executive Producer Michael Jackson ONE, a permanent show at Las Vegas’ Mandalay
                     Bay

                     Executive Producer Michael Jackson’s Halloween, a CBS animated special

                     Executive Producer Michael Jackson’s Journey from Motown to Off the Wall

                     Executive Producer Michael Jackson’s BAD 25

                     President of Optimum Productions and producer of Thriller 3D, which premiered at the
                     Venice and Toronto Film Festivals.

                     Producer, Michael Jackson Live at Wembley

                     Producer, The Making of Michael Jackson’s Thriller

                     Producer, The Doors: When You're Strange

                     Producer, Michael Jackson: From Motown to Your Town

                     Producer, The Doors: Live at the Hollywood Bowl

                     Producer, The Doors: Dance on Fire

                     Producer, Metropolis (1984 restoration)




                     PRESE"VING THE LEGACY OF MICHAEL
                     JACKSON
                     Following in Michael's footsteps, the co-executors of the Estate of Michael Jackson,
                     John Branca and John McClain, continue to produce artistically exceptional and
                     enormously successful ventures resulting in, as reported on 60 Minutes, “the most
                     remarkable financial and image resurrection in pop-culture history.”

                     Upon release, Michael Jackson's This is It became the highest grossing music
                     documentary of all time. In 2010, Branca negotiated a Sony recording deal which is
                     credited as the largest record deal in history, involving the release of 10 CDs over time,
                     some of which will contain previously unreleased recordings as well as reissues. The
                     agreement was extended in 2018 as The Estate and Sony find new and innovative
                     ways to Make Michael’s music available to future generations of fans.

                     A history making touring show produced in partnership with Cirque du Soleil, Michael
                     Jackson THE IMMORTAL World Tour, played four continents, 157 cities, was seen by
                     3.7 million fans and became the #8 top grossing tour of all time. The second venture
                     between the Estate and Cirque du Soleil, the critically acclaimed Michael Jackson
                     ONE, a permanent show at Mandalay Bay Las Vegas, gave Cirque its biggest opening
                     ever in Las Vegas and continues to be one of the top shows in the city.

                     In 2014, The Estate astounded the world with the technical wizardry of a ‘virtual
                     Michael Jackson' performance during the Billboard Music Awards, which gave the
                     show its biggest ratings in years and became the topic of conversation worldwide.
                     That same year, Xscape, the second posthumous release of previously unreleased
                     music by Michael Jackson, was released and became one of the top selling albums of
                     2014. In 2015, Thriller became the first album in RIAA Gold & Platinum Program history
                     to be certified 30X multi-Platinum for U.S. sales, continuing The King of Pop's reign as
                     the biggest selling artist of all time with worldwide sales of over 103 million for Thriller
                     and 1 billion overall.

                     In 2016, the Estate released the documentary MICHAEL JACKSON's Journey From
                     Motown To Off The Wall, directed by Spike Lee. The documentary made its world
                     premiere at the Sundance Film Festival on January 24, 2016, and its subsequent
                     broadcast on SHOWTIME® became the channel's highest rated music documentary of
                     all time and its second highest rated documentary ever. Last year the Estate premiered
                     Thriller 3D at the Venice Film Festival and the Toronto Film Festival and in October its
                     animated special Michael Jackson’s Halloween made its debut on the CBS Television
                     Network.

                                                                   READ LESS -




                     PERSONAL
                     John’s mother was Barbara Werle, a Harvest Moon Ball winner who danced on the Ed
                     Sullivan Show.

                     John’s father, the Honorable John R Branca, served as the Mt. Vernon, NY Recreation
                     Commissioner. He was a New York State Assemblyman from 1980-1984, and thereafter
                     Chairman of the New York State Athletic Commission. A star pitcher for AB Davis High
                     School in Mt. Vernon, he was undefeated during his high school varsity career and
                     pitched two no-hitters. In his senior year, he was named the New York State Player of
                     the Year, and lead AB Davis to the New York State Championship at Mt. Vernon Edison
                     High School. As Recreation Commissioner, his recreation programs, and his programs
                     specially designed for the handicapped, the disabled, and the elderly, were innovative
                     and were cited by President Kennedy as a model for other communities. As New York
                     State Athletic Commissioner, he brought championship boxing back to Madison
                     Square Garden and instituted national reforms.

                     John’s uncle, baseball great Ralph Branca, was a 3-time All Star starting pitcher for the
                     Brooklyn dodgers and pitched in two World Series. He was a team mate and close
                     friend of Jackie Robinson, and stood up for Robinson when he first joined the team.
                     Branca appeared in the film ”42” and serviced as an advisor.

                     John is the father of Jessica Branca, John Conor Branca and Dylan Gregory Branca. All
                     share their father’s love of music and sports.

                     John is married to Jenna Branca.
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                                               NEWS/A"TICLES
                                               John Branca, King of Deals, Los Angeles Business Journal


                                               JOHN BRANCA – UCLA ATHLETICS, "OCK & "OLL, AND BRANCA FAMILY FIELD


                                               UCLA Athletics Introduces Plans for JRS Improvements


                                               Variety: ‘Neverland’ Ethics Questioned as Michael Jackson Lawyers Speak at Documentaries Panel, UCLA School
                                               of Law

                                               Video 1 | Video 2


                                               Billboard: Michael Jackson Co-Executor John Branca Says He’s Considering Suing ‘Leaving Neverland’ Director
                                               Dan Reed, Harvard

                                               Video 1 | Video 2 | Video 3 | Video 4


                                               John Branca Named #1 Music Attorney in the World by Marquis Who’s Who


                                               HITS Rainmakers: John Branca, The Closer


                                               Michael Jackson is worth more than ever and the IRS wants a piece of it
                                               Bloomberg News


                                               King’s Counsel: Lawyer Continues in Service of Pop Superstar as Estate Executor
                                               Los Angeles Business Journal



                                                                                                       VIEW ALL +




                                               CLIENTS
                                               AEROSMITH**
                                               ALAN PARSONS PROJECT
                                               AMERICAN RECORDINGS (RICK RUBIN)
                                               AMOS, TORI
                                               ANKA, PAUL
                                               ANTIN, ROBIN (PUSSYCAT DOLLS)
                                               APOLLO ADVISORS
                                               ATKINS, JEFFREY (P/K/A JA RULE)
                                               AUTHENTIC BRANDS GROUP
                                               AVEX D.D., INC.
                                               BACH, SEBASTIAN (SKID ROW)
                                               BACKSTREET BOYS, THE
                                               BANDIER, MARTY / CHARLES KOPPELMAN
                                               BEACH BOYS, THE**
                                               BEATLES NORTHERN SONGS CATALOG**
                                               BEE GEES, THE**
                                               BLACK CROWES, THE
                                               BLAINE, DAVID
                                               BOCELLI, ANDREA
                                               BOSTON VENTURES
                                               BRANSON, RICHARD / VIRGIN RECORDS
                                               BRUNEI, SULTAN OF
                                               CANNELL, STEPHEN, PRODUCTIONS
                                               CAREY, MARIAH
                                               CAVALLO/RUFFALO MANAGEMENT
                                               CETERA, PETER (CHICAGO)**
                                               CHILD, DESMOND
                                               COBAIN, KURT – THE END OF MUSIC, LLC (ESTATE OF KURT COBAIN)**
                                               CONCEPCION, MIKE
                                               COPPERFIELD, DAVID
                                               CORNELL, CHRIS (SOUNDGARDEN, AUDIOSLAVE)
                                               COWELL, SIMON / SYCO MUSIC
                                               CROSBY, DAVID**
                                               CROSBY, STILLS & NASH**
                                               CULT, THE
                                               D’ARBY, TERENCE TRENT
                                               DAMN YANKEES
                                               DEATH ROW RECORDS
                                               DeBARGE
                                               DELICIOUS VINYL
                                               DENSMORE, JOHN**
                                               DICK CLARK**
                                               DIAMOND, NEIL**
                                               DOORS, THE**
                                               DR. DRE**
                                               DURAN DURAN
                                               DURST, FRED
                                               DYLAN, BOB**
                                               EAGLES, THE**
                                               EARTH, WIND & FIRE**
                                               EHRLICH, KEN (THE GRAMMYS)
                                               ELO**
                                               EMI MUSIC PUBLISHING – (SONY CORPORATION / MUBADALA)
                                               EMUSIC.COM
                                               EPITAPH RECORDS
                                               FAGEN, DONALD**
                                               FALTERMEYER, HAROLD
                                               FIFIELD, JAMES (EMI)
                                               FIRM, THE / JEFF KWATINETZ
                                               FLEETWOOD MAC**
                                               FLEETWOOD, MICK**
                                               FOGELBERG, DAN
                                               FOGERTY, JOHN / CREEDENCE CLEARWATER REVIVAL**
                                               FORBES MAGAZINE
                                               FORD, LITA
                                               FUGEES, THE
                                               FUJISANKEI
                                               GABRIEL, PETER**

                                               GENERAL MEDIA INC. (BOB GUCCIONE / PENTHOUSE MAGAZINE)
                                               GIANT RECORDS / IRVING AZOFF
                                               GIBB, BARRY**
                                               GORDY, BERRY**
                                               GUERINOT, JIM / REBEL WALTZ
                                               HAM, BILL
                                               HARRISON, GEORGE**
                                               HENLEY, DON**
                                               HIATT, JOHN
                                               HILBURN, ROBERT
                                               HILL, LAUREN
                                               HINDER
                                               HOFFS, SUSANNA (THE BANGLES)
                                               HUTCHENCE, MICHAEL, ESTATE OF (INXS)
                                               IGLESIAS, ENRIQUE
                                               INCUBUS
                                               INTERSCOPE RECORDS
                                               ISLEY, RON**
                                               ISAAK, CHRIS
                                               JACK MACK & THE HEART ATTACK
                                               JACKSON, MICHAEL**
                                               JACKSON FIVE, THE**
                                               JAGGER, MICK**
                                               JEFF WALD ENTERTAINMENT
                                               JOBETE MUSIC, INC. (MOTOWN CATALOGUE)
                                               JOHN, ELTON**
                                               JOHNSON, DON
                                               JOPLIN, JANIS, ESTATE OF**
                                               JVC
                                               KALODNER, JOHN
                                               KAT VON D
                                               KAUFMAN, HOWARD / HK MANAGEMENT
                                               KEYS, ALICIA
                                               KHAYAT, NADIR (P/K/A REDONE)
                                               KNIGHT, HOLLY
                                               KOMURO, TETSUYA (“TK”)
                                               KORN
                                               LEE, TOMMY
                                               LEIBER/STOLLER SONGS, INC.**
                                               LENNON, JULIAN
                                               LIL PUMP
                                               LIMP BIZKIT
                                               LOPES, LISA
                                               LOUD RECORDS / STEVE RIFKIN
                                               LOVE, COURTNEY
                                               LYNNE, JEFF**
                                               MACANDREWS & FORBES HOLDINGS, INC. (RON PERELMAN)
                                               MAINMAN/TONY DEFRIES
                                               MANDALAY ENTERTANMENT
                                               MATCHBOX 20
                                               MATSHUSITA INC.
                                               MCI
                                               McCOO, MARILYN & BILLY DAVIS, JR.
                                               McINTYRE, REBA
                                               McKNIGHT, BRIAN
                                               MEGADETH
                                               MIGUEL, LUIS
                                               MILLI VANILLI
                                               MORISSETTE, ALANIS
                                               MORODER, GIORGIO
                                               MORRISON, VAN**
                                               MOTOWN PRODUCTIONS
                                               MP3.COM, INC.
                                               MURDER, INC. / IRV GOTTI
                                               MURPHY, EDDIE
                                               MUSICARES
                                               MUSICIANS ASSISTANCE PROGRAM
                                               NEIL, VINCE (MOTLEY CRUE)
                                               NICKELBACK
                                               NICKS, STEVIE**
                                               NIRVANA**
                                               OCCIDENTAL COLLEGE
                                               O’NEAL, SHAQUILLE OSEARY, GUY (MAVERICK RECORDS)
                                               PASTORIUS, JACO
                                               PET SHOP BOYS
                                               PLAYBOY ENTERPRISES
                                               POISON
                                               PONY CANYON, INC.
                                               PRESLEY, ELVIS, ESTATE OF**
                                               PRESLEY, PRISCILLA
                                               PRIMARY WAVE MUSIC PUBLISHING
                                               PRUDENTIAL SECURITIES
                                               PRYOR, RICHARD
                                               REDDING, OTIS, ESTATE OF**
                                               RHINO RECORDS
                                               RICHARD RODGERS FAMILY TRUST, THE
                                               ROBERTSON, ROBBIE / THE BAND**
                                               ROBINSON, SMOKEY**
                                               RODGERS AND HAMMERSTEIN ORGANIZATION, THE
                                               ROLLING STONES, THE**
                                               ROSA, ROBI
                                               ROSSUM, EMMY
                                               ROTH, DAVID LEE**
                                               RUBIN, RICK
                                               SABAN, HAIM
                                               SAFEGUARD SCIENTIFICS
                                               SANTANA, CARLOS**
                                               SBK ENTERTAINMENT WORLD
                                               SCHEFF, JASON (CHICAGO)
                                               SCHUR, JORDAN / SURETONE RECORDS
                                               SEAL
                                               SEALS & CROFTS
                                               SEDAKA, NEIL
                                               SEX PISTOLS, THE**
                                               SHAKIRA
                                               SHAW, TOMMY (STYX)
                                               SHORTER, WAYNE
                                               SIR MIX-A-LOT
                                               SLASH (GUNS N’ ROSES, VELVET REVOLVER)**
                                               SNAPCHAT, INC
                                               SO SO DEF / JERMAINE DUPRI
                                               SONY/ATV MUSIC PUBLISHING
                                               SOUNDSTAGE / JOE THOMAS
                                               STAIND
                                               STEELY DAN**
                                               STILLS, STEPHEN**
                                               STRANG, CAMERON (WARNER MUSIC GROUP)
                                               SULLIVAN, FRANKIE (SURVIVOR)
                                               SWID, STEPHEN
                                               SYLVERS JR., LEON
                                               TAUPIN, BERNIE
                                               TAYLOR, JAYCEON (P/K/A THE GAME)
                                               THORN/EMI
                                               TIMBERLAKE, JUSTIN
                                               TLC
                                               TONY! TONI! TONE!/RAPHAEL SAADIQ
                                               TRAVELING WILBURYS
                                               TYGA
                                               TYLER, STEVEN (AEROSMITH)**
                                               TYSON, MIKE
                                               UCLA FOUNDATION
                                               USHER
                                               VIVENDI
                                               VMI-VICTOR MUSICAL INDUSTRIES
                                               WALT DISNEY, INC.
                                               WEATHER REPORT
                                               WEEZER
                                               WHITE, MAURICE**
                                               WILSON, BRIAN**
                                               WATERS, MUDDY, ESTATE OF**
                                               YAMAHA
                                               YOAKAM, DWIGHT
                                               YOSHIKI (“X”)
                                               ZAWINUL, JOE
                                               ZEVON, WARREN
                                               ZZ TOP**

                                                                                              READ LESS -




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                             EXHIBIT J

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                                      Menu
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                                                                                                                                                                          '

Home      People      Eric Custer                                                                                                           Share:   !
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   Eric Custer
                                                                  Partner
                                                                  Manatt Entertainment

                                                                       Contact
                                                                       ecuster@manatt.com                                   Download vCard

                                                                       Phone: 310.312.4219                                  Los Angeles



                                                                       Bar Admissions


                                                                       Education




                                                                  Services
                                                                  Cannabis and CBD

                                                                  Intellectual Property Protection and Enforcement

                                                                  Industries
                                                                  Manatt Digital and Technology

                                                                  Manatt Entertainment

                                                                  Music




Profile                      Speaking Engagements                                  Honors & Awards                        Memberships                      Publications




           Profile
           Eric Custer's practice focuses on all aspects of the music industry, including the negotiation of a wide variety of music
           related contracts and advising clients as to intellectual property rights in the context of the music business.


           Eric has provided these services for bands, recording artists, producers, songwriters, record companies, music publishing
           companies, film production companies, performing rights societies, music industry trade organizations, concert
           promoters, managers/talent agencies, brands/ad agencies, APP developers and various Internet and new media
           companies.




           Eric in the News

           12.10.21                                                                               10.19.21
           Manatt Represents BMG Rights                                                           Manatt Represents Dundee Partners
           Management in Its Acquisition of                                                       in $1.1B Acquisition of Kobalt ...
           Mötley ...                                                                             A Manatt team led by Manatt Entertainment partner and
           This transaction makes it the largest single-catalog                                   leader Jordan Bromley, partner Eric Custer and
           acquisition BMG has made since its formation.                                          associate Beau Stapleton ...



           04.08.21                                                                               04.05.21
           Nine Manatt Attorneys Recognized                                                       Seven Manatt Attorneys Recognized
           on Variety’s 2021 Legal Impact                                                         Among Billboard’s Top Music
           Report                                                                                 Lawyers
           Leader of Manatt Entertainment Lindsay Conner, leader                                  Leader of Manatt’s entertainment transactions and
           of the firm’s entertainment transactions and finance                                   finance practice Jordan Bromley, leader of the firm’s
           practice Jordan Bromley, ...                                                           entertainment litigation ...


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                             EXHIBIT K

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                                   #:193



                                    JOSEPH MANNIS
                                  HERSH, MANNIS LLP
                              9150 Wilshire Blvd., Suite 209
                              Beverly Hills, California 90212
                        TEL: (310) 786-1910; FAX: (310) 786-1917

               1967 B.A. University of Southern California

               1971 J.D. Loyola School of Law

               1972 Admitted to the Bar: State of California

                                     WORK HISTORY
 1972 - 1995 Miscellaneous partnerships
 1995 Partner: Mannis & Phillips
 2000 Partner: Hersh Mannis & Bogen
 2016 Present: Founding Partner: Hersh Mannis LLP


                                    BAR MEMBERSHIP
 Member, California Bar Association
 Member, Los Angeles County Bar Association, Family Law Executive
 Committee Member, Family Law Section American Bar Association. Member, Family
 Law Section Beverly Hills Bar Association
 Volunteer Mediator Los Angeles Superior Court, Central District

     BIOGRAPHY, SPEAKING ENGAGEMENTS AND NOTABLE AWARDS

 Mr. Mannis has practiced law since 1972. He graduated in the top 6% from Loyola Law
 School. For over 35 years, Mr. Mannis’ practice has been almost exclusively devoted to
 family law. Currently, Mr. Mannis is the senior partner at Hersh Mannis LLP a firm with
 eleven attorneys and one of-counsel lawyers with approximately 95% of our business
 being in family law matters. Mr. Mannis has handled scores of cases involving
 significant assets, some with assets of hundreds of millions of dollars, and regularly
 reviews and analyzes tax returns and financial statements. He has served as lead
 counsel in some of the most significant child support cases in California including at
 least two cases with monthly child support being $100,000 or more per month. He
 regularly is lead counsel on significant family law matters and has represented dozens
 of celebrities, musicians and athletes in all areas of family law. Mr. Mannis has tried to
 conclusion dozens of family law cases and has serve as lead attorney in thousands of
 settled family law cases. Prominent cases have included Mr. Mannis being lead
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 counsel for the Chairman of the Board and Chief Executive Officer of a major motion
 picture studio and in another, President of a major studio.

 Mr. Mannis is often called upon to participate in industry discussions on relevant family
 law issues. In 2019, Mr. Mannis spoke on the topic of “Hollywood Divorces: An
 Insider's Perspective on Navigating A Divorce When Representing Clients in the
 Entertainment Industry” for the Beverly Hills Bar Association. The panel of experts also
 focused on cross over issues that family law attorneys should be apprised of when
 representing clients working in the entertainment industry. In 2016, Mr. Mannis was
 honored as a legend in Family Law by the Beverly Hills Bar Association, along with
 Dennis Wasser and Daniel Jaffe.
 Mr. Mannis has also offered his expertise to certified public accountants and attorneys
 on a broad range of topics ranging from “High Wage Earners, Celebrity Goodwill”,
 Beverly Hills Bar Association, “Support on Support”, 48th Annual Family Law
 Symposium, Los Angeles County Bar Association, “Private Judges”, Beverly Hills Bar
 Association, “Spousal Support,” Orange County Bar Association, Family Law Section,
 The Bankruptcy Abuse Prevention and Consumer Protection Act of 2005: The Impact
 on Family Law”, 31st Annual Family Law Symposium, “Professional Practice.

 Mr. Mannis’ notable print and broadcast credits include: “Before You Say I DO” Los
 Angeles Daily Journal – California Law Business E! Entertainment Television (Divorce
 Hollywood Style), The Hollywood Divorce (MG Network, France De Quel Droit) and
 other entertainment ventures. Mr. Mannis produced two motion pictures (executive
 producer): “Cheech & Chong’s Still Smokin” and “Cheech & Chong’s Corsican
 Brothers.” Since 1982, a large percentage of Mr. Mannis’ practice has involved family
 law. Since 1988, virtually his entire practice has been family law.

 Mr. Mannis has also produced or co-produced over 40 rock concerts including a sold
 out, all-day festival at Anaheim Stadium.

                              FAMILY LAW EXPERIENCE

 Mr. Mannis has practiced law since 1972. From 1972 to approximately 1976, his
 practice consisted of civil litigation with an emphasis on construction litigation.
 Beginning in 1976 through the mid to late 1980s, his practice was substantially family
 law. From the mid to late 1980s to the present, his practice has been almost exclusively
 family law. On several occasions, Mr. Mannis has qualified as an expert witness in the
 Los Angeles Superior Court system in family law matters. He regularly served as a
 family law mediator in the Los Angeles Superior Court, Central District. Mr. Mannis firm
 has been AV rated by Martindale-Hubbell virtually since its inception in 1990. Prior to
 1990, his previous firms were also AV rated for many years. Mr. Mannis has handled
 dozens of cases involving significant assets, some with a value of over $750 million. He
 regularly reviews and analyzes tax returns and financial statements.

 Mr. Mannis was named a Super Lawyer by Los Angeles Magazine’s Southern
 California’s Super Lawyers for 2004 to 2020. He was named a Top 100 Super Lawyer
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 in Southern California by Los Angeles Magazine in 2006, 2007, 2009, 2010, and 2011.
 Mr. Mannis’ firm has been AV rated by Martindale-Hubbell virtually since its inception in
 1990. Prior to 1990, his previous firms were also AV rated for many years.
